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                              EXHIBIT 3
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   ·1· · · · · · · UNITED STATES DISTRICT COURT

   ·2· · · · · · · SOUTHERN DISTRICT OF FLORIDA

   ·3· · · · · · · · · · · · · - - -

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   ·6· · · · · · · · · · · · · · · · :
   · · ALEKSEJ GUBAREV, XBT HOLDING :
   ·7· S.A., and WEBZILLA, INC.,· · ·:
   · · · · · · · · · · · · · · · · · :
   ·8· · · · · · · · ·Plaintiffs,· · : Case No.
   · · · · · · · vs.· · · · · · · · ·: 1:17-cv-60426-UU
   ·9· · · · · · · · · · · · · · · · :
   · · BUZZFEED, INC. and BEN SMITH, :
   10· · · · · · · · · · · · · · · · :
   · · · · · · · · · ·Defendants.· · :
   11· ------------------------------x

   12

   13· · ·VIDEOTAPED DEPOSITION UNDER ORAL EXAMINATION OF

   14· · · · · · · · · · · · ERIC COLE

   15· · · · · · · · · · ·August 29, 2018

   16· · · · · · · · · · Washington, D.C.

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   24· REPORTED BY:· MICHELE E. EDDY, RPR, CRR, CLR

   25· JOB NO. 244332


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   ·1· · · · Transcript of the deposition of ERIC COLE,

   ·2· called for Oral Examination in the above-captioned

   ·3· matter, said deposition taken pursuant to District

   ·4· Rules of Practice and Procedure, by and before MICHELE

   ·5· E. EDDY, a Certified Realtime Reporter, a Registered

   ·6· Professional Reporter, and a Notary Public for the

   ·7· District of Columbia, held at the offices of Davis

   ·8· Wright Tremaine LLP, 1919 Pennsylvania Avenue,

   ·9· Northwest, Suite 800, Washington, D.C., commencing at

   10· 10:04 a.m.

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   ·1· · · · · · · · · A P P E A R A N C E S

   ·2

   ·3· ON BEHALF OF THE PLAINTIFFS:

   ·4· · · · · · EVAN FRAY-WITZER, ESQUIRE

   ·5· · · · · · Ciampa Fray-Witzer, LLP

   ·6· · · · · · 20 Park Plaza, Suite 505

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   10

   11· ON BEHALF OF THE DEFENDANTS:

   12· · · · · · KATHERINE M. BOLGER, ESQUIRE

   13· · · · · · ALISON SCHARY, ESQUIRE

   14· · · · · · DAVIS WRIGHT TREMAINE LLP

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   18· · · · · · kate.bolger@dwt.com

   19· · · · · · alisonschary@dwt.com

   20

   21· ALSO PRESENT:

   22· · · · · · Kim Johnson, Videographer

   23

   24

   25


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   ·9· · · · · · · · · · ·E X H I B I T S

   10· · · · · · · (Attached to the Transcript)

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   13· Exhibit 2· Expert Report of Anthony J. Ferrante· · ·45

   14· Exhibit 3· Expert Report of Dr. Eric Cole in· · · · 52

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   ·2· · · · · · · · · · ·August 29, 2018

   ·3· · · · · · · · · · Washington, D.C.

   ·4· · · · · · · · · · · · · - - -

   ·5· · · · · · THE VIDEOGRAPHER:· Here begins media

   ·6· number 1 in the video-recorded deposition of Eric

   ·7· Cole, taken in the matter of Aleksej Gubarev, et

   ·8· al. versus BuzzFeed, et al., in the U.S. District

   ·9· Court of Southern Florida, Case Number

   10· 17-cv-60426.

   11· · · · · · Today's date is August 29th, 2018.· The

   12· time is 10:05.· This deposition is being held at

   13· 1919 Pennsylvania Avenue, Washington, D.C.· The

   14· court reporter is Michele Eddy, the video camera

   15· operator is Kim Johnson, both on behalf of U.S.

   16· Legal Support.

   17· · · · · · Will counsel please introduce yourselves

   18· and state whom you represent.

   19· · · · · · MS. BOLGER:· Sure.· Kate Bolger on

   20· behalf of the defendants, and along with me is

   21· Alison Schary.

   22· · · · · · MR. FRAY-WITZER:· Evan Fray-Witzer for

   23· the plaintiffs.

   24· · · · · · THE VIDEOGRAPHER:· Will the court

   25· reporter please swear the witness.


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   ·1· · · · · · · · · · · · · - - -

   ·2· · · · · · · · · ERIC B. COLE, Ph.D.,

   ·3· having been duly sworn, testified as follows:

   ·4· · · · · EXAMINATION BY COUNSEL FOR DEFENDANTS

   ·5· BY MS. BOLGER:

   ·6· · · ·Q· · Hi, Dr. Cole.· As I said, I am Kate

   ·7· Bolger, and I represent the defendants.· I know

   ·8· you've been deposed before so I won't waste too

   ·9· much time on ground rules.· I will tell you,

   10· though, that I do speak very quickly.· I'm a New

   11· Yorker.· It's habit.· Feel free to slow me down if

   12· I get too quick.

   13· · · · · · So what did you do to prepare for

   14· today's deposition?

   15· · · ·A· · To prepare for today's deposition, I

   16· reread my report, I reread the report of

   17· Mr. Ferrante, I read the indictment, and I read

   18· the deposition transcript of Mr. Ferrante.· And

   19· then I also met with counsel.

   20· · · ·Q· · Great.

   21· · · · · · And by "the indictment," do you mean the

   22· Mueller indictment of the 12 Russian nationals?

   23· · · ·A· · That is correct.

   24· · · ·Q· · When you met with Mr. Fray-Witzer -- was

   25· it Mr. Fray-Witzer?


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   ·1· · · ·A· · Yes, it was.

   ·2· · · ·Q· · Great.

   ·3· · · · · · When you met with Mr. Fray-Witzer, did

   ·4· he provide you with any additional documents?

   ·5· · · ·A· · No, he did not.

   ·6· · · ·Q· · Great.

   ·7· · · · · · You are here today as an expert witness

   ·8· on behalf of the plaintiffs.· Correct?

   ·9· · · ·A· · That is correct.

   10· · · ·Q· · Great.

   11· · · · · · What was the scope of your assignment

   12· for the plaintiffs?

   13· · · ·A· · The scope of my assignment was to review

   14· the Mr. Ferrante report and provide my feedback

   15· and analysis on the work that he performed.

   16· · · ·Q· · That was the whole scope of your

   17· assignment.

   18· · · ·A· · Yes, that was.

   19· · · ·Q· · So you were not retained, then, to

   20· investigate the truth or falsity of the

   21· allegations contained in what has been referred to

   22· as the "Steele dossier."· Correct?

   23· · · ·A· · Other than its relevance to the

   24· Mr. Ferrante report, that is correct.

   25· · · ·Q· · Okay.· So you're aware that this lawsuit


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   ·1· is about, essentially, one paragraph in the

   ·2· dossier.· Correct?

   ·3· · · ·A· · That is my understanding.

   ·4· · · ·Q· · And were you retained to investigate the

   ·5· truth of that one paragraph of the dossier?

   ·6· · · ·A· · I was brought on to put -- look at that

   ·7· paragraph in context of the Mr. Ferrante report to

   ·8· see if Mr. Ferrante actually proved valid evidence

   ·9· that that was a true statement or not.

   10· · · ·Q· · Okay.· But other than assessing

   11· Mr. Ferrante's report, you did no additional

   12· investigation into that paragraph.· Correct?

   13· · · ·A· · That is correct.

   14· · · ·Q· · Okay.· What documents did the plaintiffs

   15· provide you with to draft your expert report?

   16· · · ·A· · Initially, it was -- I believe it's

   17· referred to as the "December memo," which has the

   18· paragraph that you reference, and then

   19· Mr. Ferrante's report.

   20· · · ·Q· · Okay.· Were you provided with the

   21· dossier as a whole?

   22· · · ·A· · No, I was not.

   23· · · ·Q· · Okay.· Have you ever read the dossier as

   24· a whole?

   25· · · ·A· · No, I did not.


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  ·1· · · ·Q· · Do you know what it's about?

  ·2· · · ·A· · I believe, in general, it's about the

  ·3· Russians and the DNC, based on the context of that

  ·4· one paragraph.

  ·5· · · ·Q· · Incidentally, in your opinion, did

  ·6· Russian state actors launch malicious cyber

  ·7· attacks against the DNC?

  ·8· · · · · · MR. FRAY-WITZER:· Objection.· You can

  ·9· answer.

  10· · · ·A· · I did not perform that analysis.· That

  11· would be a separate tasking that I would have to

  12· perform.

  13· · · ·Q· · Right.· But you're a human being who

  14· lives in the world.

  15· · · · · · In your opinion, did Russian state

  16· actors launch a malicious cyber attack against

  17· Democratic Party leadership?

  18· · · · · · MR. FRAY-WITZER:· Objection.· You can

  19· answer.

  20· · · ·A· · Once again, I take analysis very

  21· seriously.· I did not research, perform enough

  22· in-depth to be able to form an opinion on that.

  23· · · ·Q· · Have you read The New York Times?

  24· · · · · · MR. FRAY-WITZER:· Objection.

  25· · · ·A· · No.


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  ·1· · · ·Q· · Have you read The Washington Post

  ·2· articles about the alleged Russian state actors'

  ·3· attack on the Democratic National Party

  ·4· leadership?

  ·5· · · ·A· · My background is cybersecurity.· So I

  ·6· have done some analysis on the technical

  ·7· feasibility of performing attacks and the overall

  ·8· security and vulnerabilities but did not do enough

  ·9· research to form an actual opinion of who actually

  10· performed what attacks.

  11· · · ·Q· · My question was actually have you ever

  12· read a Washington Post article about the Russian

  13· state attacks on the Democratic National Party

  14· leadership?

  15· · · · · · MR. FRAY-WITZER:· Objection.· You can

  16· answer.

  17· · · ·A· · I do not believe so.· I read a lot.· So

  18· I would have to go back and sort of check to see

  19· what I actually did read or didn't read.

  20· · · ·Q· · Have you read any article ever about the

  21· Republicans -- sorry.· That was a Freudian slip.

  22· · · · · · Have you ever read any articles --

  23· strike that, please.

  24· · · · · · Have you ever read any articles about

  25· Russian state actor attacks -- malicious cyber


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  ·1· attacks on Democratic Party leadership?

  ·2· · · ·A· · I track cybersecurity news.· So, yes,

  ·3· because they were cyber attacks.· I don't remember

  ·4· if they were TV, if they were radio, or if they

  ·5· were print.· But I do remember seeing articles and

  ·6· information about the Russians, and I have

  ·7· performed some interviews on the technical nature

  ·8· of those attacks.

  ·9· · · ·Q· · Okay.· What have you said about the

  10· technical nature of those attacks?

  11· · · ·A· · Basically focused on the dangers of

  12· phishing attacks, where if somebody sends an

  13· email, you're one click away from a compromise.

  14· So basically warning people that you have to be

  15· careful, if an email looks legitimate, to make

  16· sure what you click on.· Also going over the

  17· nature of how a server can be compromised with

  18· open ports and vulnerabilities.

  19· · · ·Q· · You gave those interviews about phishing

  20· because, in fact, Russian state actors phished

  21· John Podesta.· Correct?

  22· · · · · · MR. FRAY-WITZER:· Objection.· You can

  23· answer.

  24· · · ·A· · I know phishing was one of the

  25· components that was used in the attacks.


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  ·1· · · ·Q· · You said initially the plaintiffs

  ·2· provided you with a copy of one portion of the

  ·3· dossier, correct, what the plaintiffs call the

  ·4· December memo.· Correct?

  ·5· · · ·A· · Correct, that one paragraph.

  ·6· · · ·Q· · What else did they provide you?

  ·7· · · ·A· · Mr. Ferrante's report.

  ·8· · · ·Q· · Anything else?

  ·9· · · ·A· · No.

  10· · · ·Q· · I'm going to ask Michele to mark as

  11· Exhibit 1 --

  12· · · ·A· · To --

  13· · · ·Q· · -- a copy of your report.

  14· · · · · · Oh, sorry, yes, Dr. Cole.

  15· · · ·A· · Just so we're clear, that was what they

  16· were initially provided --

  17· · · ·Q· · Okay.

  18· · · ·A· · -- and then after I submitted my report,

  19· I then was provided a copy of the Mueller

  20· indictment and the deposition of Mr. Ferrante

  21· after my report was submitted.· I just wanted to

  22· make sure that was accurate.

  23· · · ·Q· · That's fine.· And that's everything

  24· you've been provided, correct, by the plaintiffs?

  25· · · ·A· · Yes.


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  ·1· · · ·Q· · Okay.

  ·2· · · · · · So did you -- you never received any

  ·3· emails, internal emails from XBT or anything like

  ·4· that to review in preparing for -- in preparing

  ·5· your report?

  ·6· · · ·A· · That is correct.

  ·7· · · ·Q· · And you never received any logs from XBT

  ·8· or Webzilla in preparing your report?

  ·9· · · ·A· · That is correct.· That was outside the

  10· scope of my assignment, which was to focus on

  11· Mr. Ferrante's report.

  12· · · ·Q· · Great.

  13· · · · · · You saw the exhibits to Mr. Ferrante's

  14· report.· Correct?

  15· · · ·A· · Yes, I did.

  16· · · ·Q· · Did you ever see any testimony from any

  17· XBT or Webzilla employees in preparing your

  18· report?

  19· · · ·A· · Once again, the focus was on

  20· Mr. Ferrante's report.· So, no, I did not.

  21· · · ·Q· · Did you ever speak to Mr. Gubarev about

  22· Mr. -- sorry, strike that.

  23· · · · · · Did you ever speak to Mr. Gubarev in

  24· preparing your report?

  25· · · ·A· · No, I did not.


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  ·1· · · ·Q· · Okay.· Did you ever travel to any XBT

  ·2· facility in preparing your report?

  ·3· · · ·A· · Once again, that was not the scope of my

  ·4· assignment, but, no, I did not.

  ·5· · · ·Q· · Okay.· Great.

  ·6· · · · · · I'm going to ask Michele to mark as

  ·7· Exhibit 1 your report in this matter.· I'm sure

  ·8· you have this.· I'm just going to have a standing

  ·9· apology for throwing things.

  10· · · · · · (Exhibit 1 was marked for identification

  11· and attached to the deposition transcript.)

  12· BY MS. BOLGER:

  13· · · ·Q· · Mr. Cole, am I correct?· Is this your

  14· report in this matter?

  15· · · ·A· · Yes, this looks like a copy of my

  16· report.

  17· · · ·Q· · Great.

  18· · · · · · If you turn to page 1, Dr. Cole, you'll

  19· see it refers -- the very first line of the very

  20· first page says, "I, Dr. Eric B. Cole, have been

  21· retained as a technical expert on behalf of the

  22· plaintiffs."

  23· · · · · · Do you see that?

  24· · · ·A· · Yes, I do.

  25· · · ·Q· · Great.


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  ·1· · · · · · What technical work did you do in

  ·2· preparing the report?

  ·3· · · ·A· · Reviewed Mr. Ferrante's report to verify

  ·4· and validate the technical accuracy of his

  ·5· analysis and the technical accuracy of the claims

  ·6· that were made in Mr. Ferrante's report.

  ·7· · · ·Q· · What did you do to verify the technical

  ·8· accuracy?

  ·9· · · ·A· · I looked for his statement, and then I

  10· looked for evidence or things that would back up

  11· any of the claims.· I would look at the

  12· references, and I would use my experience and

  13· expert opinion to validate whether that was true

  14· or not.

  15· · · ·Q· · What do you mean by you would use your

  16· experience?· What would you do?· In other words,

  17· would you read Mr. Ferrante's report and then read

  18· something else, or would you undertake some other

  19· activity?

  20· · · ·A· · Depending on which portion.· So in some

  21· portions where Mr. Ferrante made a claim, I would

  22· look to see is there supporting evidence to back

  23· that claim.· I would look up the referenced

  24· evidence that Mr. Ferrante stated to say, does it

  25· back the claim that he's trying to make.· And then


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  ·1· in some cases I would use -- when he talks about

  ·2· IP addresses, I would use my technical

  ·3· understanding of what an IP address is, how that

  ·4· works, what does that mean, and how does it work

  ·5· in the Internet as a whole in communication

  ·6· systems to be able to form my analysis.

  ·7· · · ·Q· · Okay.· In undertaking that exercise, did

  ·8· you ever use any documentation other than the

  ·9· exhibits to Mr. Ferrante's report?

  10· · · ·A· · I believe there were a few exhibits that

  11· that I've referenced in my report that I've

  12· utilized, I think in one case, to show that

  13· hosting providers do get compromised and do get

  14· attacked.· So I did use some external references

  15· that are listed in my report.

  16· · · ·Q· · Are you referring to the two articles

  17· that are excerpted in your report?

  18· · · ·A· · That would be correct.

  19· · · ·Q· · Other than the two articles that are

  20· excerpted in your report and the one exhibit that

  21· you attached to your report, did you look at

  22· anything other than the exhibits to Mr. Ferrante's

  23· report in making your technical analysis?

  24· · · ·A· · No.· My assignment was to look at

  25· Mr. Ferrante's report and the evidence.· So that


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  ·1· was my focus.· And then all my opinions, analysis,

  ·2· and any references or techniques that were used

  ·3· are contained in my report.

  ·4· · · ·Q· · Okay.· Fantastic.

  ·5· · · · · · Did you ever undertake any forensic

  ·6· analysis in preparing the report?

  ·7· · · · · · MR. FRAY-WITZER:· Objection.· You can

  ·8· answer.

  ·9· · · ·A· · Once again, my focus was on

  10· Mr. Ferrante's report.· So, no, I did not.· If he

  11· performed detailed forensic analysis, I probably

  12· would have performed some to validate and back it.

  13· But my tasking and assignment in this case was to

  14· focus on reviewing and analyzing Mr. Ferrante's

  15· report.

  16· · · ·Q· · So that's a no.· Right?

  17· · · ·A· · On the forensic analysis, correct.

  18· · · ·Q· · Okay.· What does XBT do?

  19· · · ·A· · They are a hosting provider.

  20· · · ·Q· · What does that mean?

  21· · · ·A· · That means they host servers for other

  22· companies, other entities, and other websites that

  23· want to have presence on the Internet.

  24· · · ·Q· · What does Webzilla do?

  25· · · ·A· · My understanding is Webzilla also hosts


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  ·1· content and is a hosting provider run by the owner

  ·2· of XBT.

  ·3· · · ·Q· · Okay.· Where did you come to have that

  ·4· understanding as to what they do?

  ·5· · · ·A· · Just based on some initial conversations

  ·6· on this case with counsel, looking at

  ·7· Mr. Ferrante's report and understanding the

  ·8· general issues that are in question in this case.

  ·9· · · ·Q· · Okay.

  10· · · · · · Is it your contention that Webzilla and

  11· XBT are ISPs?

  12· · · ·A· · I would probably consider them, from my

  13· understanding, as more hosting providers, but in

  14· doing that, they do have connectivity to the

  15· Internet, and they do provide Internet access to

  16· their customers.

  17· · · ·Q· · Who do you think their competitors are?

  18· · · · · · MR. FRAY-WITZER:· Objection.· You can

  19· answer.

  20· · · ·A· · That was outside the scope of my

  21· analysis.· I didn't perform a competitive

  22· analysis.

  23· · · ·Q· · One of the arguments in your expert

  24· opinion, in your expert report, just to

  25· paraphrase -- I'm sure you'll correct me if I'm


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  ·1· wrong -- is that the kinds of statements

  ·2· Mr. Ferrante makes about XBT could be made about

  ·3· any number of other companies.· Correct?

  ·4· · · ·A· · Could you show me the exact section of

  ·5· the report to make sure we have it correct?

  ·6· · · ·Q· · No.· You can -- you can answer my

  ·7· question.· You don't need to see the exact

  ·8· question.

  ·9· · · · · · The point is, your report says this

  10· could have happened to any other -- a host of

  11· other companies.· Correct?

  12· · · · · · MR. FRAY-WITZER:· Objection.· You can

  13· answer.

  14· · · ·A· · Once again, I could look at my report.

  15· You're asking me for specifics in my report, and I

  16· don't have it memorized.

  17· · · ·Q· · I'm asking you, in your expert opinion,

  18· isn't one of the flaws that you think

  19· Mr. Ferrante's report has is that the statements

  20· he makes about XBT could be said of other

  21· companies?

  22· · · · · · MR. FRAY-WITZER:· Objection.· You can

  23· answer.

  24· · · ·A· · That is true.· And some of the analysis,

  25· for example, some of the references Mr. Ferrante


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  ·1· uses in those references, when I look them up, is

  ·2· also true of Google, Amazon, and other large

  ·3· companies.

  ·4· · · ·Q· · Okay.· What types of companies?

  ·5· · · ·A· · Other companies that provide content on

  ·6· the Internet that host web servers that provide

  ·7· web content.

  ·8· · · ·Q· · Which of those web servers -- which of

  ·9· those companies do you understand to be

  10· competitors of Webzilla and XBT?

  11· · · · · · MR. FRAY-WITZER:· Objection.· You can

  12· answer.

  13· · · ·A· · Once again, I -- I can tell you with

  14· knowing how the Internet works, knowing how

  15· hosting providers work and operate, and the fact

  16· that they're just providing content, and the

  17· amount of traffic that monitoring would not be

  18· possible, that those claims could be made of

  19· anyone who's hosting other companies and the

  20· companies listed in the report.· Like I said, I

  21· didn't do a competitive analysis, and I didn't

  22· need to do a competitive analysis in order to come

  23· up with those statements.

  24· · · ·Q· · There's a difference between a content

  25· provider and a web hoster, a hosting company.


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  ·1· Correct?

  ·2· · · ·A· · There are some differences.

  ·3· · · ·Q· · Which one is -- are the plaintiffs in

  ·4· this case that you are an expert on behalf of?

  ·5· Are they more like web hosting companies, are they

  ·6· more like content providers?· Who would you say --

  ·7· where do they fit in that spectrum?

  ·8· · · · · · MR. FRAY-WITZER:· Objection.· You can

  ·9· answer.

  10· · · ·A· · I'm sorry, I missed the question.· Are

  11· you asking about the plaintiffs?

  12· · · ·Q· · I'm asking -- in your answer to my

  13· question, you referenced content providers and web

  14· hosting companies, and you sort of lumped them all

  15· together.· And I'm asking you, there's a

  16· difference between a content provider, an ISP, and

  17· a hosting company.· Right?· There's differences

  18· between those.· Correct?

  19· · · ·A· · There are some differences, yes.

  20· · · ·Q· · Sure.· So what are the plaintiffs?· Into

  21· which bucket do the plaintiffs fit?

  22· · · ·A· · I would put them mainly under a hosting

  23· provider.

  24· · · ·Q· · Do you know what services they provide

  25· to their customers?


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  ·1· · · ·A· · Not a specific breakdown, no.

  ·2· · · ·Q· · Do you know if they provide servers, for

  ·3· example?

  ·4· · · ·A· · I believe that in hosting, they provide

  ·5· servers and Internet access for their customers.

  ·6· · · ·Q· · Do you know if they have managed

  ·7· servers?

  ·8· · · ·A· · Once again, outside the scope.· I was

  ·9· looking at Mr. Ferrante's report, the claims he

  10· made, and then performing that analysis.· I didn't

  11· do a detailed --

  12· · · ·Q· · So that's a no.

  13· · · ·A· · I didn't do a detailed analysis of XBT's

  14· business model.

  15· · · ·Q· · So that's a no, right, to my question?

  16· My question was, do you know if they provide

  17· managed servers.· The answer to that question is

  18· no.· Correct?

  19· · · ·A· · Once again, I know they're a hosting

  20· provider.· So it would not surprise me if they

  21· provide managed services or other things because

  22· those are all related service offerings.

  23· · · ·Q· · Do you know if they provide colocation

  24· services?

  25· · · ·A· · Once again, it wouldn't surprise me if


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  ·1· they did, but it wouldn't change my answer or my

  ·2· analysis.

  ·3· · · ·Q· · But you don't know.· Correct?

  ·4· · · ·A· · It wasn't relevant to my analysis.

  ·5· · · ·Q· · So you don't know.· Correct?

  ·6· · · ·A· · I don't know specifically the business

  ·7· model of XBT.

  ·8· · · ·Q· · Okay.· Do you know how many servers XBT

  ·9· owns?

  10· · · ·A· · Once again, a detailed analysis of XBT

  11· was outside my scope, and that was not relevant to

  12· my analysis.· So I do not know.

  13· · · ·Q· · Do you know whether they own data

  14· centers?

  15· · · ·A· · Once again, it wouldn't surprise me if

  16· they did, based on their business, but a detailed

  17· analysis of XBT's business model was outside the

  18· scope, and it wasn't needed for me to perform my

  19· analysis.· So I am not sure of the specific

  20· details of XBT.

  21· · · ·Q· · Well, I got this information by looking

  22· them up on the Internet.· Did you do that,

  23· Dr. Cole?

  24· · · ·A· · I went to their website just to get a

  25· general idea of the companies, but I didn't


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  ·1· perform a detailed analysis of their business

  ·2· model.

  ·3· · · ·Q· · Well, I've read the website.· That's how

  ·4· I know that information, Dr. Cole.· Did you read

  ·5· the whole website?

  ·6· · · ·A· · Once again, that analysis wasn't needed

  ·7· for me to be able to.· So, no, I did not do a

  ·8· detailed analysis of XBT's business model.

  ·9· · · ·Q· · Do you consider reading a website to be

  10· a detailed analysis?

  11· · · ·A· · It depends on what my assignment was.

  12· If my assignment was to research XBT, understand

  13· their service offerings, then, yes, I would go

  14· through their website, and I would do a lot of

  15· other analysis.· My assignment was to look at

  16· Mr. Ferrante's report and perform an analysis,

  17· and, in order to do that, I did not need to

  18· perform a detailed analysis of XBT or go through

  19· all their service offerings on their website.

  20· · · ·Q· · I mean, don't you want to know who hired

  21· you, Dr. Cole?

  22· · · · · · MR. FRAY-WITZER:· Objection.· You can

  23· answer.

  24· · · ·A· · Once again, I know the high level of the

  25· case.· I know who hired me, XBT.· But, once again,


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  ·1· my assignment was not to go through and look at

  ·2· all the service offerings of XBT.· If that was my

  ·3· assignment, I definitely would have done that.

  ·4· · · ·Q· · Do you know how many ASNs XBT and its

  ·5· affiliates control?

  ·6· · · ·A· · Once again, outside the scope of my

  ·7· analysis.· So I do not know.

  ·8· · · ·Q· · Just for the record, because we should

  ·9· define terms like that, what is an ASN?

  10· · · ·A· · An Autonomous System.· So that's

  11· basically a subgrouping of IP addresses that are

  12· typically assigned to an entity or a group or a

  13· company.

  14· · · ·Q· · And the idea is -- you'll correct me if

  15· this is technically inaccurate.· For this part of

  16· the deposition, I'm just trying to get us to agree

  17· on terms, okay?· So the idea is that if you

  18· control an ASN, you have the ability to announce

  19· and unannounce IP addresses, correct, within your

  20· ASN?

  21· · · ·A· · At a high level, yes.

  22· · · ·Q· · We only need it to be high level,

  23· Dr. Cole.

  24· · · ·A· · Okay.

  25· · · ·Q· · I went to law school.· But we all want


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  ·1· to -- I just want to agree that an ASN -- so if

  ·2· XBT controls an ASN, that means XBT announces and

  ·3· withdraws IP addresses on that ASN.· Correct?

  ·4· · · ·A· · If they are assigned that subnet of IP

  ·5· addresses.

  ·6· · · ·Q· · Okay.· And no one else but XBT can

  ·7· assign or withdraw IP addresses within the ASNs

  ·8· they control.· Correct?

  ·9· · · · · · MR. FRAY-WITZER:· Objection.· You can

  10· answer.

  11· · · ·A· · In general, that's true.· They could

  12· potentially give management or sublease out those,

  13· but, in general, if you're assigned an ASN, you're

  14· responsible for that.

  15· · · ·Q· · Okay.· Just to follow up on that

  16· question, it would have to be XBT that assigned

  17· those to someone else.· Correct?

  18· · · ·A· · So if an ASN was assigned to XBT, yes,

  19· XBT would then have to reassign those to somebody

  20· else.

  21· · · ·Q· · What I'm trying to have us, if possible,

  22· agree on is that XBT controls the IP addresses

  23· within the subnet, the ASN that they are

  24· controlling.· Correct?

  25· · · ·A· · Yes.· They're responsible for managing


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  ·1· those IP addresses.

  ·2· · · ·Q· · Great.

  ·3· · · · · · Okay.· If you would, please, turn to

  ·4· page 4 of your report.

  ·5· · · · · · Oh, I'm sorry.· Dr. Cole, you and I have

  ·6· a bone of contention.· The page numbers are not --

  ·7· there are no page numbers on this report, sir.

  ·8· · · ·A· · I was just going to --

  ·9· · · ·Q· · I would like to speak to you sternly

  10· about that, but if you -- if you wouldn't mind

  11· counting to 4, you'll find paragraph 18 is where

  12· I'm headed.

  13· · · ·A· · Is this page 1 or this page?

  14· · · ·Q· · It is not, I'm sorry.

  15· · · ·A· · So this page 1?

  16· · · ·Q· · Yes, sir.

  17· · · ·A· · Okay.· Two, three, four.

  18· · · ·Q· · You're on -- it's paragraph 18 that I

  19· was hoping you would look at.

  20· · · ·A· · Perfect.

  21· · · ·Q· · Great.

  22· · · · · · So you'll see, which is the first in the

  23· section of the report entitled, "Summary of

  24· Opinions," and the second sentence in paragraph

  25· 18 --


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  ·1· · · ·A· · Just one moment.· Could I grab my

  ·2· reading glasses quick?

  ·3· · · ·Q· · Of course you can.

  ·4· · · ·A· · I thought I had them in my pocket, and I

  ·5· forgot.

  ·6· · · · · · MS. BOLGER:· Why don't we go off the

  ·7· record to let you do that.

  ·8· · · · · · THE VIDEOGRAPHER:· Off the record at

  ·9· 10:28.

  10· · · · · · · (Discussion off the record.)

  11· · · · · · THE VIDEOGRAPHER:· Back on the record at

  12· 10:28.

  13· BY MS. BOLGER:

  14· · · ·Q· · Great.

  15· · · · · · So I was directing you to the second

  16· sentence in paragraph 18, which says, "It is my

  17· opinion that defendants had no factual information

  18· or proof to support the claims made against the

  19· plaintiffs.· The claims made include the

  20· statement, "A company called XBT/Webzilla and its

  21· affiliates have been using botnets and porn

  22· traffic to transmit viruses, plant bugs, steal

  23· data, and conduct 'altering operations against

  24· Democratic Party leadership."· I'll stop there

  25· because that's the part I want you to focus on.


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  ·1· · · · · · Do you see that?

  ·2· · · ·A· · Yes, I do.

  ·3· · · ·Q· · Okay.

  ·4· · · · · · What is the basis for your statement

  ·5· that "the defendants had no factual information or

  ·6· proof to support the claims made against the

  ·7· plaintiffs"?

  ·8· · · ·A· · That was Mr. Ferrante's report.· So I

  ·9· basically went through Mr. Ferrante's report in

  10· which he made those claims, and then I looked at

  11· his arguments and I looked at the information he

  12· provided and did not see any factual data to

  13· support that.· In many cases, which are

  14· highlighted in my report, he made very

  15· inconclusive statements saying, we don't know for

  16· sure, we're not for sure, and really didn't

  17· provide any factual information to support this

  18· specific statement.

  19· · · ·Q· · Mr. Ferrante is not a defendant in this

  20· action.· Correct?· You'll agree with me on that.

  21· · · ·A· · Correct.· He's the expert for your side.

  22· · · ·Q· · Great.

  23· · · · · · So it says, "It is my opinion that

  24· defendants had no factual information."· Correct?

  25· · · · · · What infor- -- what is the basis for


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  ·1· your opinion that the defendants, as distinct from

  ·2· Mr. Ferrante, had no factual information or proof

  ·3· to support the claims made against the plaintiffs?

  ·4· · · · · · MR. FRAY-WITZER:· Objection.· You can

  ·5· answer.

  ·6· · · ·A· · That statement was based on Mr. Ferrante

  ·7· was hired by the defendants, Mr. Ferrante

  ·8· performed the analysis for the defendants, and I

  ·9· was provided Mr. Ferrante's report as the analysis

  10· for the defendants.

  11· · · ·Q· · Okay.· But it's not your contention that

  12· you're purporting to give an opinion about what

  13· BuzzFeed knew or didn't know.· Correct?

  14· · · ·A· · Right.· That statement that says in "my

  15· opinion that the defendants," that is referencing

  16· Mr. Ferrante's report on behalf of the defendants.

  17· · · ·Q· · You've seen no documents created or

  18· produced by the defendants in this case.· Correct?

  19· · · · · · MR. FRAY-WITZER:· Objection.

  20· · · ·A· · I've only seen what was in

  21· Mr. Ferrante's report.· So the statements in this

  22· report and that statement there were referring to

  23· Mr. Ferrante's report on behalf of the defendants.

  24· · · ·Q· · But you've never seen a document from

  25· BuzzFeed.· Correct?


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  ·1· · · ·A· · I don't know if BuzzFeed provided any

  ·2· documents to Mr. Ferrante, but other than what was

  ·3· in Mr. Ferrante's report, I did not receive any

  ·4· separate external documents from BuzzFeed.

  ·5· · · ·Q· · Okay.· Other than Mr. Ferrante's report,

  ·6· and we've agreed he isn't a defendant, you didn't

  ·7· see any news-gathering materials from BuzzFeed.

  ·8· Correct?

  ·9· · · ·A· · Separate from Mr. Ferrante's report

  10· because, once again, I don't know --

  11· · · ·Q· · That was the question.

  12· · · ·A· · -- if BuzzFeed provided any information

  13· to him.· But other than what was in Mr. Ferrante's

  14· report, I did not have any other information

  15· outside of his report from BuzzFeed.

  16· · · ·Q· · Okay.· Setting aside Mr. Ferrante's

  17· report and its exhibits, you never saw Ben Smith

  18· interviewed to talk about why he decided to

  19· publish the dossier.· Right?

  20· · · ·A· · Once again, the scope of my assignment

  21· was to focus solely on Mr. Ferrante's report.· So,

  22· correct, I did not look at anything outside of

  23· Mr. Ferrante's report because that was outside the

  24· scope of my assignment.

  25· · · ·Q· · I'm going to ask you to turn to page 10


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  ·1· of your report so get counting, Dr. Cole.· It's

  ·2· paragraph 41.

  ·3· · · ·A· · Paragraph numbers are easier.

  ·4· · · ·Q· · Not for me.· You must be smarter than I

  ·5· am.

  ·6· · · · · · Okay.· You'll see the sentence, "It is

  ·7· therefore false and defamatory for BuzzFeed to

  ·8· make a blanket statement that the plaintiffs are

  ·9· using botnets and porn traffic to transmit

  10· viruses, plant bugs, steal data, and conduct

  11· 'altering operations' against Democratic Party

  12· leadership."

  13· · · · · · Are you with me?

  14· · · ·A· · Yes, I am.

  15· · · ·Q· · Great.

  16· · · · · · What does it mean to be defamatory?

  17· · · ·A· · To provide a false or incorrect

  18· statement that could hurt the reputation of an

  19· entity.

  20· · · ·Q· · Okay.· I didn't ask you what false

  21· meant.· I asked you what defamatory meant.· What

  22· does defamatory mean?

  23· · · ·A· · I believe I answered that.· So to

  24· provide false or incorrect statements that could

  25· be damaging to an entity.


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  ·1· · · ·Q· · What's your basis for the claim that the

  ·2· statement is false?

  ·3· · · ·A· · Once again, the scope of my assignment

  ·4· was to review Mr. Ferrante's report.· So in

  ·5· Mr. Ferrante's report, he did not provide any

  ·6· conclusory evidence that would support that

  ·7· statement.

  ·8· · · ·Q· · Did you ever -- did you rely on any

  ·9· other document other Mr. Ferrante's report and its

  10· exhibits in making that statement?

  11· · · ·A· · No.· And, once again, all my statements

  12· in this report are in reference to Mr. Ferrante's

  13· report on behalf of the defendants.

  14· · · ·Q· · Did you undertake any technical analysis

  15· that provides a basis for that sentence?

  16· · · ·A· · I reviewed Mr. Ferrante's report and

  17· looked at all his claims in cases where there was

  18· technical analysis such as IP addresses or other

  19· information.· I did perform that, and, once again,

  20· there was no evidence in Mr. Ferrante's report

  21· that that statement was true in any way, shape, or

  22· form.

  23· · · ·Q· · Okay.· But we talked earlier about what

  24· technical steps you undertook, and you said you

  25· looked at his exhibits.· Correct?


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  ·1· · · · · · MR. FRAY-WITZER:· Objection.

  ·2· · · ·A· · And I believe I also said I did

  ·3· technical analysis of his statements.· I can

  ·4· reference with IP addresses.· I would go in and

  ·5· understand what he meant and determine the

  ·6· validity of those statements.

  ·7· · · ·Q· · How did you go in and understand what he

  ·8· meant and determine the validity of those

  ·9· statements?

  10· · · ·A· · Based on my expertise.· So when he would

  11· go in and say, well, packets came from an IP

  12· address, then I would go in and look at the list

  13· from CrowdStrike and look at that list and say,

  14· but that IP address was not on any of the IP

  15· addresses identified by CrowdStrike.

  16· · · · · · So when I talk about technical analysis,

  17· it's based on my expertise of understanding the

  18· terms and taking what he said and then looking at

  19· the information, such as CrowdStrike, and

  20· verifying or validating legitimacy.

  21· · · ·Q· · Other than looking up IP addresses on

  22· the CrowdStrike list, did you do -- did you go in,

  23· as you put it, to any other technical data?

  24· · · ·A· · Well, every component and section of his

  25· report, I analyzed, and then all my findings are


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  ·1· in here.· So all of the technical analysis would

  ·2· be listed within my report.

  ·3· · · ·Q· · I understand that, but I'm trying to

  ·4· figure out what steps you undertook to get that

  ·5· technical analysis, and, from what I understand,

  ·6· Mr. Ferrante had a report with exhibits, and you

  ·7· read the report and you looked at the exhibits,

  ·8· and when a portion of the report referenced -- a

  ·9· report referenced an exhibit, you looked at the

  10· exhibit.

  11· · · · · · I want to know, other than reading

  12· Mr. Ferrante's report, looking at the exhibits,

  13· reading Mr. Ferrante's report and looking at the

  14· CrowdStrike exhibit, you looked at or, as you have

  15· said, go into anything else?

  16· · · · · · MR. FRAY-WITZER:· Objection.· You can

  17· answer.

  18· · · ·A· · I believe in reference -- I believe it

  19· was in reference to the CrowdStrike that there

  20· were some additional IP addresses that I did

  21· perform some analysis of to see if any of XBT's IP

  22· addresses were on that list, but that was, once

  23· again, tied to the analysis in Mr. Ferrante's

  24· report.

  25· · · ·Q· · How did you do the analysis?· What did


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  ·1· you do to do the analysis?

  ·2· · · ·A· · Would take the IP addresses, do Whois

  ·3· lookups, NsLookups, perform analysis to see who

  ·4· they're registered to and who owns those IP

  ·5· addresses.

  ·6· · · ·Q· · You consider all of those to be industry

  ·7· standard ways to check that information?

  ·8· · · ·A· · Yes, I do.

  ·9· · · ·Q· · Did you undertake any forensic analysis

  10· to determine whether XBT and its affiliates had

  11· been using botnets and porn traffic to transmit

  12· viruses?

  13· · · ·A· · Once again, the scope of my assignment

  14· was to look at Mr. Ferrante's report.· It was not

  15· to perform any additional forensic analysis.· And

  16· because Mr. Ferrante didn't perform any forensic

  17· analysis and my focus was solely on his report, I

  18· did not perform any analysis.

  19· · · ·Q· · So the answer is no.

  20· · · ·A· · That was outside of my scope.· Correct.

  21· · · ·Q· · So the answer is no, you did not do that

  22· analysis.

  23· · · ·A· · Right.· It was outside the scope so I

  24· did not perform a detailed forensic analysis.

  25· That was not what I was asked to do with this


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  ·1· assignment.

  ·2· · · ·Q· · Great.

  ·3· · · · · · Did you undertake any forensic analysis

  ·4· to determine whether XBT and its affiliates had

  ·5· been using botnets and porn traffic to steal data?

  ·6· · · ·A· · Once again, the scope of my assignment

  ·7· was to look at Mr. Ferrante's report and verify

  ·8· and validate the evidence.· As those questions

  ·9· related to Mr. Ferrante's report, yes.· Anything

  10· outside of what Mr. Ferrante did, then the answer

  11· was no, I did not do any additional analysis other

  12· than look at Mr. Ferrante's report.

  13· · · ·Q· · Sorry, Dr. Cole, that time I totally

  14· lost you.· This is a very simple question.

  15· · · · · · Did you undertake any forensic analysis

  16· to determine whether XBT and its affiliates had

  17· been using botnets and porn traffic to conduct

  18· altering -- sorry, to steal data?

  19· · · ·A· · Can you -- that was a little quick,

  20· sorry.

  21· · · ·Q· · Sorry.· Did you --

  22· · · ·A· · I want to make sure I get all the words.

  23· · · ·Q· · I'm reading from the dossier.

  24· · · · · · Did you take any forensic analysis to

  25· determine whether XBT and its affiliates had been


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  ·1· using botnets and porn traffic to steal data?

  ·2· · · · · · MR. FRAY-WITZER:· Objection.· You can

  ·3· answer.

  ·4· · · ·A· · That was outside the scope of my

  ·5· assignment so, no, I did not.

  ·6· · · ·Q· · Great.

  ·7· · · · · · Did you undertake any forensic analysis

  ·8· to determine whether XBT and its affiliates had

  ·9· been using botnets and porn traffic to conduct

  10· altering operations against Democratic Party

  11· leadership?

  12· · · ·A· · Once again, the scope of my assignment

  13· was to look at Mr. Ferrante's report and perform

  14· analysis so, no, I did not perform any external,

  15· independent forensic analysis outside of my

  16· assignment.

  17· · · ·Q· · So how can you opine that it was false,

  18· that the dossier is false?

  19· · · ·A· · Once again, this statement was based on

  20· the analysis in Mr. Ferrante's report.

  21· · · ·Q· · Dr. Cole, you've written several books.

  22· You've written a bunch of articles.· You know how

  23· to write the English language.· That sentence

  24· doesn't say Mr. Ferrante's report was false.· That

  25· sentence says, "It is therefore false and


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  ·1· defamatory for BuzzFeed to make a blanket

  ·2· statement that the plaintiffs are using botnets

  ·3· and porn traffic to transmit viruses, plant bugs,

  ·4· steal data, and conduct 'altering operations'

  ·5· against the Democratic Party leadership."· Does it

  ·6· not?

  ·7· · · · · · MR. FRAY-WITZER:· Objection.· It follows

  ·8· paragraphs 39 and 40.

  ·9· · · ·A· · Once again, you have to look at the

  10· whole report.· If you look at the whole report,

  11· the whole report was in reference to

  12· Mr. Ferrante's report.· So this statement would be

  13· taken in the context of my analysis with

  14· Mr. Ferrante's report.

  15· · · ·Q· · When we began this deposition, I asked

  16· you if you believed Russian state actors had

  17· launched malicious cyber attacks against the

  18· Democratic National Committee.· And you told me

  19· you could not opine on that because you did not do

  20· any forensic analysis.· Do you remember that, just

  21· a couple minutes ago?

  22· · · ·A· · I believe I said I didn't do any

  23· analysis.· I don't believe I used the word

  24· "forensics."

  25· · · ·Q· · Okay.· That's fair.


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  ·1· · · · · · You didn't do any analysis here, either.

  ·2· You didn't do any analysis personally as to

  ·3· whether XBT and its affiliates were using botnets,

  ·4· did you?

  ·5· · · · · · MR. FRAY-WITZER:· Objection.· You can

  ·6· answer.

  ·7· · · ·A· · I disagree.· I absolutely did.

  ·8· Mr. Ferrante's report was a report commissioned

  ·9· and hired by the defendants to show that that

  10· statement was true.· So I went through

  11· Mr. Ferrante's report, and Mr. Ferrante's report

  12· provided zero evidence and no factual data that

  13· that statement was true.

  14· · · ·Q· · Right.· Answer my question now.· You

  15· didn't do any analysis as to whether -- of XBT's

  16· infrastructure, any logs, anything in XBT, to

  17· determine whether they used botnets or porn

  18· traffic to transmit viruses, did you?

  19· · · · · · MR. FRAY-WITZER:· Objection.· You can

  20· answer.

  21· · · ·A· · That was outside the scope of my report

  22· so, no, I did not.· But that's not what this

  23· report is focused on.· The report is focused on --

  24· · · ·Q· · That's what that sentence says.

  25· · · ·A· · If I could finish.· This report was


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  ·1· focused on Mr. Ferrante's -- if you read the

  ·2· entire report, I believe it is clear that 41 is

  ·3· referring to Mr. Ferrante's report.

  ·4· · · ·Q· · That is -- opining that something hasn't

  ·5· been proven true is different from saying

  ·6· something is false.· Isn't it?

  ·7· · · ·A· · They are different.· And, once again,

  ·8· the scope of mine was analyzing Mr. Ferrante's

  ·9· report.· You have to be very careful of taking a

  10· sentence out of context of a book, a report, or

  11· any document.

  12· · · ·Q· · I agree.· I hope the plaintiffs do, too.

  13· · · · · · Dr. Cole, as you sit here, is it your

  14· testimony that the only evidence you have that the

  15· dossier is false is Mr. Ferrante's report?

  16· · · · · · MR. FRAY-WITZER:· Objection.

  17· · · ·Q· · And its exhibits?

  18· · · · · · MR. FRAY-WITZER:· Objection.· You can

  19· answer.

  20· · · ·A· · The only analysis I was asked to perform

  21· was to look at Mr. Ferrante's report.· So all of

  22· the statements in this report are all based on

  23· Mr. Ferrante's report.· That was the focus of my

  24· assignment.

  25· · · ·Q· · The only evidence you have to support


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  ·1· your claim in paragraph 41 that it is false and

  ·2· defamatory for BuzzFeed to make a blanket

  ·3· statement that, quotation from the dossier, is

  ·4· Mr. Ferrante's report and its exhibits.· Correct?

  ·5· · · ·A· · That is correct, because that was the

  ·6· focus of my assignment and that was the focus of

  ·7· my report.

  ·8· · · ·Q· · Right.· And you did no independent

  ·9· research at all to establish the truth or falsity

  10· of the statements in the dossier.

  11· · · · · · MR. FRAY-WITZER:· Objection.· You can

  12· answer.

  13· · · ·A· · My assignment was focused solely on

  14· Mr. Ferrante's report so I did not perform any

  15· other analysis outside of Mr. Ferrante's report.

  16· · · · · · MS. BOLGER:· Would you mind reading back

  17· my question.

  18· · · · · · · · · · ·(Record read.)

  19· · · ·Q· · Correct?

  20· · · · · · MR. FRAY-WITZER:· Objection.· You can

  21· answer.

  22· · · ·A· · I believe some of that was done in

  23· looking at Mr. Ferrante's report.· But outside

  24· Mr. Ferrante's report, the answer to your question

  25· would be no, I did not do any other independent


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  ·1· analysis outside of looking at Mr. Ferrante's

  ·2· report.

  ·3· · · ·Q· · What was the independent analysis you

  ·4· did in looking at Mr. Ferrante's report?· I don't

  ·5· understand that answer.

  ·6· · · · · · You did no independent analysis to

  ·7· determine whether XBT and its affiliates undertook

  ·8· any particular action.· Correct?· All you did was

  ·9· look at Mr. Ferrante's report.

  10· · · ·A· · That is correct, I only looked at

  11· Mr. Ferrante's report.

  12· · · ·Q· · Okay.· I'm going to ask you to turn to

  13· page 5 of your report, please, which is paragraph

  14· 22.

  15· · · · · · In particular, it says -- the first

  16· sentence, look at that.· "Other than inaccurate

  17· and unsupported opinions, Mr. Ferrante does not

  18· provide any actual proof to support any of the

  19· above statements.· The only analysis Mr. Ferrante

  20· performed is an analysis of IP addresses, which

  21· contain no proof that any entity actually engaged

  22· in any wrongdoing."

  23· · · · · · Are you with me on that?

  24· · · ·A· · Yes.

  25· · · ·Q· · So I want to talk to you about the


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  ·1· sentence, "The only analysis Mr. Ferrante

  ·2· performed is an analysis of IP addresses."

  ·3· · · · · · Do you see that?

  ·4· · · ·A· · Yes, I do.

  ·5· · · ·Q· · I don't quite understand this sentence

  ·6· so I'm asking you for clarification.· Is it your

  ·7· testimony that Mr. Ferrante did nothing else

  ·8· than -- other than look at IP addresses?

  ·9· · · ·A· · The supporting evidence in

  10· Mr. Ferrante's report always comes back to IP

  11· addresses, a small percent, taken out of context,

  12· that belonged to XBT.· So that was the core of his

  13· analysis throughout his report, where he was tying

  14· XBT to these attacks, was all based on IP

  15· addresses.

  16· · · ·Q· · So that sentence says, "the only

  17· analysis."· I'm asking you, is it your testimony

  18· that the only analysis Mr. Ferrante did was look

  19· at IP addresses?

  20· · · ·A· · Once again, to make those conclusory

  21· statements that he made in his report, they were

  22· all based on IP addresses.

  23· · · ·Q· · I'm going to ask Michele to mark as

  24· Exhibit 2 Mr. Ferrante's report in this matter.

  25· For the record, I didn't attach the exhibits


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  ·1· because it was very large.· I do have a copy here.

  ·2· If you need to look at them, you're welcome to

  ·3· look at it, but I didn't attach them just for

  ·4· tree-saving purposes.

  ·5· · · · · · (Exhibit 2 was marked for identification

  ·6· and attached to the deposition transcript.)

  ·7· · · ·A· · Thank you.

  ·8· · · ·Q· · Dr. Cole, you'll agree with me that this

  ·9· is the -- Dr. -- is Mr. Ferrante's report.

  10· Correct?

  11· · · ·A· · (Document review.)

  12· · · ·Q· · I promise you, I'm not trying to trick

  13· you.

  14· · · · · · MR. FRAY-WITZER:· We'll certainly accept

  15· your representation.

  16· · · ·Q· · I promise you, I'm not trying to trick

  17· you.

  18· · · ·A· · If this is your representation, then,

  19· yes, okay.

  20· · · ·Q· · Would you turn to page 13 for me.

  21· · · · · · So you'll see that the second graph on

  22· page 13 begins, "Bitly produced a system audit log

  23· of 11,139 bitlinks created by john356gh, which

  24· included the bitlink."· Are you with me on that,

  25· on that paragraph?· Are you with me on the page?


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  ·1· Above the box.

  ·2· · · ·A· · Above the box.· Is it the bold?

  ·3· · · ·Q· · No, that whole graph starts out "Bitly

  ·4· produced."

  ·5· · · ·A· · Oh, the paragraph, okay.· Perfect, yes.

  ·6· · · ·Q· · Would you just take a minute to read it.

  ·7· As a surprise -- so I don't surprise you, my

  ·8· question is going to be, doesn't this paragraph

  ·9· describe activity other than simply looking at IP

  10· addresses?

  11· · · ·A· · Once again, the core of the analysis,

  12· and especially if you look at the bolded sentence,

  13· is, "One of these bitlinks was created by an IP

  14· address."· So once again, the foundation for

  15· Mr. Ferrante linking XBT all comes back to that IP

  16· address.· He performed --

  17· · · ·Q· · Well, if you -- I'm sorry, I thought you

  18· were done.

  19· · · ·A· · He performed other analysis on top of it

  20· with the bitlinks, but the ultimate connecting of

  21· the dots for Mr. Ferrante always came back to the

  22· IP address.

  23· · · ·Q· · Actually, what he says is that "Using

  24· the signatures and data contained in the bitlink

  25· that John Podesta clicked on, FTI identified three


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  ·1· additional phishing websites in the john356gh

  ·2· account audit log data designed to look like

  ·3· custom Google security pages for John Podesta."

  ·4· · · · · · Do you see that sentence?

  ·5· · · ·A· · Yes.· And then right after it, he ties

  ·6· it together with "created by an IP address."

  ·7· · · ·Q· · Well, that's activity.· That's not just

  ·8· reading IP addresses.· Correct?· The sentences.

  ·9· That's just not looking at IP addresses.· Correct?

  10· That's "using the signatures and data contained in

  11· the bitlink that John Podesta clicked on, FTI

  12· identified three additional phishing websites."

  13· That's not just looking at IP addresses.· Correct?

  14· · · ·A· · That's a small piece.· If you look at

  15· the analysis he performed to make his statement,

  16· his conclusory statement, it ties back to the IP

  17· address.· The IP address is the --

  18· · · ·Q· · That activity I described is not only --

  19· the only analysis Mr. Ferrante performed is an

  20· analysis of IP addresses.· Right?· That's

  21· additional analysis.· Correct?

  22· · · ·A· · I would disagree.· To tie XBT to that

  23· statement, ultimately, it did come down to the IP

  24· address.· He performed different ways of looking

  25· at it, like with bitlinks and others, but,


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  ·1· ultimately, his analysis statement, which is

  ·2· bolded here -- he actually bolded it for

  ·3· clarification -- is back to the IP address.

  ·4· · · ·Q· · Well, did you, using the signatures and

  ·5· data contained in the bitlink that John Podesta

  ·6· clicked on, identify three additional phishing

  ·7· websites in the john356gh account?

  ·8· · · ·A· · I did not specifically go in, but I read

  ·9· that.· And, once again, in my analysis, if you

  10· look at a couple factors here, one, an only small

  11· percent of those bitlinks were actually tied to IP

  12· addresses that belonged to XBT, and then, once

  13· again, his whole statement of tying all this

  14· together is, once again, based on the IP address

  15· owned by the Root S.A., which, once again, he's

  16· saying because that IP address was registered to

  17· XBT, then, therefore, the statement is true,

  18· that's why my statement here is focused on the IP

  19· because that's where Mr. Ferrante always connected

  20· the dots with his analysis.

  21· · · ·Q· · Did you look at the Bitly data?

  22· · · ·A· · I looked at the information presented in

  23· his report.

  24· · · ·Q· · Did you look at the Bitly data?

  25· · · ·A· · Yes, because the Bitly data is here so I


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  ·1· looked at it within his report, yes.

  ·2· · · ·Q· · Did you look at all the documents

  ·3· produced by Bitly in this litigation?

  ·4· · · · · · MR. FRAY-WITZER:· Objection.· You can

  ·5· answer.

  ·6· · · ·A· · I only looked at what was referenced in

  ·7· Mr. Ferrante's report because that was the scope

  ·8· of the assignment.

  ·9· · · ·Q· · Did you ask to look at anything else?

  10· · · ·A· · Once again, the scope of my assignment

  11· was to focus solely on Mr. Ferrante's report, and

  12· that's what I performed.

  13· · · ·Q· · If you look at page 14, under the

  14· heading, "Additional Technical Connections,"

  15· you'll see a paragraph that starts, "Technical

  16· evidence suggests that Fancy Bear may have used an

  17· IP address owned by XBT subsidiary, Root S.A., in

  18· the past."

  19· · · · · · Do you see that?

  20· · · ·A· · I do see that sentence.

  21· · · ·Q· · I'm just orienting you on the page.

  22· · · ·A· · Thank you.

  23· · · ·Q· · If you see, at the end of that

  24· paragraph, it says, "Similarly, FTI was not able

  25· to identify a direct technical connection to XBT


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  ·1· infrastructure based on an analysis of the five

  ·2· malware samples."

  ·3· · · · · · Do you see that?

  ·4· · · ·A· · Sorry, no.

  ·5· · · ·Q· · It's in the sentence right before the

  ·6· bold.

  ·7· · · ·A· · Are you looking at "The CrowdStrike

  ·8· report"?

  ·9· · · ·Q· · "Similarly" is the one, two -- fourth

  10· line down in the paragraph, starts, "Similarly" --

  11· · · ·A· · Oh, there, okay.

  12· · · ·Q· · -- "FTI was not able to identify a

  13· direct technical connection to XBT infrastructure

  14· based on an analysis of the five malware samples."

  15· · · · · · Are you with me?

  16· · · ·A· · Yes.· Thank you.

  17· · · ·Q· · Okay.· So FTI did an analysis of the

  18· five malware samples.· Correct?

  19· · · ·A· · That is correct.· And they were not able

  20· to identify a connection.

  21· · · ·Q· · Did you do an analysis of the five

  22· malware samples?

  23· · · ·A· · Once again, my focus and scope was on

  24· just verifying the statements in Mr. Ferrante's

  25· report.· I did not actually perform analysis of


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  ·1· the malware.

  ·2· · · ·Q· · You didn't reperform any of FTI's

  ·3· analysis.

  ·4· · · ·A· · I could, but that was not the scope of

  ·5· my assignment so, no, I did not.

  ·6· · · ·Q· · I'm not questioning your ability,

  ·7· Dr. Cole.· I'm asking whether you did it.· Did you

  ·8· do it?

  ·9· · · ·A· · I was not asked to do that so, no, I did

  10· not.

  11· · · ·Q· · An IP address is a unique identifier.

  12· Correct?

  13· · · · · · MR. FRAY-WITZER:· Objection.

  14· · · ·A· · An IP address is a unique sequence of

  15· numbers but not necessarily a unique identifier

  16· because you can move IP addresses between servers

  17· or systems.

  18· · · ·Q· · Well, it's the equivalent of, if you

  19· walked into a doctor's office, they would use your

  20· Social Security number to identify your patient

  21· record.· Correct?

  22· · · · · · MR. FRAY-WITZER:· Objection.· You can

  23· answer.

  24· · · ·A· · I would not agree with that analysis.

  25· · · · · · MS. BOLGER:· I'm going to ask Michele to


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  ·1· mark as Exhibit 3 the testimony of Dr. Eric Cole

  ·2· in the matter of National Union Fire Insurance

  ·3· versus Tyco.

  ·4· · · · · · That one, I could have hurt you with,

  ·5· Evan.

  ·6· · · · · · MR. FRAY-WITZER:· It was a good throw.

  ·7· · · · · · (Exhibit 3 was marked for identification

  ·8· and attached to the deposition transcript.)

  ·9· BY MS. BOLGER:

  10· · · ·Q· · For the record, Dr. Cole, you testified

  11· in the matter of National Union Fire Insurance

  12· company versus Tyco, and this is actually -- I

  13· can't find the date -- on March 28th, 2016, in

  14· Miami, actually.· Do you see that?

  15· · · ·A· · Yes, I do.

  16· · · ·Q· · You were retained as an expert in that

  17· case?

  18· · · ·A· · That is correct.

  19· · · ·Q· · Generally, what was the subject of your

  20· testimony?

  21· · · ·A· · I was going to be careful of

  22· confidentiality, but if you have the depo

  23· transcript, I assume that's a non- --

  24· · · ·Q· · It's a trial transcript.

  25· · · ·A· · Okay.· It was looking at the general


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  ·1· security of ADT Security.

  ·2· · · ·Q· · Would you mind turning to page 102.· I'm

  ·3· not making you count.· These are numbered.

  ·4· · · · · · If you look at lines -- this is your

  ·5· testimony, Dr. Cole.· You're welcome to check me

  ·6· if you would like, but if you look at lines 18

  ·7· through 21, you'll see that you testified, "An IP

  ·8· address is a unique identifier.· It would be like

  ·9· if you went to the doctor's office, they would use

  10· your Social Security number to identify your

  11· patient record.· That's just a unique identifier."

  12· · · · · · Are you with me?

  13· · · ·A· · Let's put it in context.

  14· · · · · · (Document review.)

  15· · · ·Q· · That's your testimony, right, Dr. Cole?

  16· · · ·A· · Yes, it is.

  17· · · ·Q· · So you've testified that an IP address

  18· is a unique identifier akin to a Social Security

  19· number.· Correct?

  20· · · ·A· · Yes.· In this context, I was referring

  21· to the specific vulnerabilities in a vulnerability

  22· scanning report.· I would probably -- once again,

  23· that's why I was looking at the context of that,

  24· specific to that vulnerability.· But IP addresses

  25· are different than Social Security numbers in that


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  ·1· they can be reassigned or changed or put on

  ·2· different systems.

  ·3· · · ·Q· · Not within an -- not outside of an ASN.

  ·4· Right?· That's what we talked about in the

  ·5· beginning.· Right?

  ·6· · · · · · MR. FRAY-WITZER:· Objection.· You can

  ·7· answer.

  ·8· · · ·A· · You can go in, and ASNs can sell and

  ·9· move IP addresses.· So over time they could be

  10· changed, and, also, within an ASN they could

  11· change which server they are linked to.

  12· · · ·Q· · Right.· But we've agreed from the

  13· beginning of this lawsuit that if XBT controlled

  14· the ASNs, they controlled the IP addresses within

  15· those ASNs.· Correct?

  16· · · · · · MR. FRAY-WITZER:· Objection.· You can

  17· answer.

  18· · · ·Q· · Are you going to change that testimony,

  19· too?

  20· · · · · · MR. FRAY-WITZER:· Objection.

  21· · · ·A· · They -- they control those IP addresses

  22· as long as that ASN belongs to them.

  23· · · ·Q· · Right.· Do you have any reason to

  24· believe that XBT has changed any of the IP

  25· addresses within its ASNs that are discussed in


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  ·1· these reports?

  ·2· · · ·A· · I did not see any information that would

  ·3· support that.· But it's also important that owning

  ·4· an XP -- sorry.· Owning an IP address within that

  ·5· ASN, it could move between servers.

  ·6· · · ·Q· · But it would still be controlled by XBT.

  ·7· · · · · · MR. FRAY-WITZER:· Objection.· You can

  ·8· answer.

  ·9· · · ·Q· · Even if it moved within servers.

  10· · · ·A· · That would be correct.

  11· · · ·Q· · Right.

  12· · · · · · You can't spoof an IP address -- I'm

  13· going to strike that.

  14· · · · · · You said -- and I'm sorry if I'm using

  15· the wrong word.· You said that you testified about

  16· vulnerability?

  17· · · ·A· · Vulnerability scanning reports.

  18· · · ·Q· · Okay.· What are vulnerability scanning

  19· reports?

  20· · · ·A· · A vulnerability scanning report is --

  21· there's tools called vulnerability scanners that

  22· you typically run within a network and you scan a

  23· server, an IP address, and you look for open port

  24· services and vulnerabilities that could be

  25· exploited by an adversary.


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  ·1· · · ·Q· · Thank you.

  ·2· · · · · · In your expert report you mentioned the

  ·3· possibility that IP addresses can be spoofed, and,

  ·4· just for the record, why don't you tell me what it

  ·5· means to spoof an IP address, just so we all have

  ·6· the same term.

  ·7· · · ·A· · A packet is like an envelope.· So when

  ·8· you send out an envelope, you have the "to"

  ·9· address and you have the "from" address.· I can

  10· send a letter from my house, but I can put Evan's

  11· return address.· There's no validation performed

  12· by the post office of where it's really coming

  13· from.· So if we all have kids, we might have sent

  14· letters to our kids in December, and we would

  15· spoof the address from the North Pole because

  16· there's no validation.

  17· · · · · · So, in a packet you can do the same

  18· thing, where somebody can send traffic, and they

  19· can go in and spoof or alter the source IP address

  20· to hide the true originator.

  21· · · ·Q· · Okay.· But IP addresses are different

  22· than the address -- IP addresses are different

  23· than the address on an envelope for the following

  24· reason.· Correct?· If I send a message to you from

  25· an IP address, if I send a packet to you on an IP


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  ·1· address, in order to complete the transaction

  ·2· between the two of us, we actually have to have a

  ·3· TCP connection.· Correct?

  ·4· · · · · · MR. FRAY-WITZER:· Objection.· You can

  ·5· answer.

  ·6· · · ·A· · That's not true.· In the protocol stack

  ·7· you have TCP or UDP.

  ·8· · · ·Q· · Okay.

  ·9· · · ·A· · So if you're using TCP, then, yes,

  10· there's a three-way handshake that needs to be

  11· completed, but there's an option in the IP header

  12· called source routing where I can still go in,

  13· spoof the IP address, and source route the packet.

  14· So I can still have it go through me and spoof the

  15· address of somebody else, and then if it's UDP,

  16· it's connectionless, and the connection would work

  17· with a spoofed address.

  18· · · ·Q· · The three-part handshake would work with

  19· a spoofed address?

  20· · · ·A· · With TCP, then?

  21· · · ·Q· · Yes.· So here's my question.

  22· · · · · · This report published by Mr. Ferrante

  23· has a lot of information about IP addresses that

  24· are used to commit certain acts.· Will you agree

  25· with me just on that very narrow point?


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  ·1· · · ·A· · Can you just read that back, just to

  ·2· make sure I get all the words.

  ·3· · · ·Q· · Yes.· I can repeat it.· What I'm saying

  ·4· was, I'm trying to get you and I to agree on just

  ·5· words.· You don't have to agree with me on

  ·6· principles, just the words.

  ·7· · · ·A· · Evan said I can't agree with you.· No,

  ·8· I'm joking.

  ·9· · · ·Q· · Mr. Ferrante's report describes specific

  10· acts undertaken using specific IP addresses.· Will

  11· you agree with me on that?

  12· · · ·A· · That is correct.

  13· · · ·Q· · Okay.· Each of those acts described

  14· is -- is a completed transaction.· Correct?

  15· · · ·A· · Each of those acts are packets received

  16· that could be received over TCP or UDP.

  17· · · ·Q· · Okay.· Each of those acts, however --

  18· I'll ask that again.

  19· · · · · · Is it your testimony, as you sit here

  20· today, that you believe the malicious attacks

  21· described in Mr. Ferrante's report were not

  22· undertaken on the IP addresses listed in the

  23· report?

  24· · · · · · MR. FRAY-WITZER:· Objection.

  25· · · ·A· · Sorry, I lost you at the end there


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  ·1· so ...

  ·2· · · ·Q· · I'm trying to figure out what your

  ·3· objection to Mr. Ferrante's use of IP addresses

  ·4· is.· There's a couple ways I think you're

  ·5· objecting to it, but there's one way I'm trying to

  ·6· figure out.· Are you claiming that the

  ·7· transactions described in Mr. Ferrante's report

  ·8· did not happen on those IP addresses?

  ·9· · · · · · MR. FRAY-WITZER:· Objection.· You can

  10· answer.

  11· · · ·A· · What I am saying is that IP addresses

  12· could be spoofed, so that is a potential, and that

  13· Mr. Ferrante did not consider that in his

  14· analysis.· He just assumed that because the IP

  15· address was registered to a certain provider, that

  16· that meant that was the originator of the attack,

  17· and there are many cases where spoofed IP

  18· addresses are in place so that might not be the

  19· case.· So that was just one of several flaws in

  20· Mr. Ferrante's analysis.

  21· · · ·Q· · Okay.

  22· · · · · · MR. FRAY-WITZER:· See, now you want the

  23· real-time.

  24· · · ·Q· · You said -- this is what I'm trying to

  25· figure out -- that could be spoofed -- okay.· So


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  ·1· you said that you think that because the IP

  ·2· address was registered to a certain provider, he

  ·3· assumed that was the originator of the attack.

  ·4· Okay.

  ·5· · · · · · What I mean -- what I'm asking you is,

  ·6· are you saying that the IP address is wrong, or

  ·7· are you saying what you believe Mr. Ferrante

  ·8· concluded, which was that consequently XBT did the

  ·9· attack, is wrong?· That's my question.

  10· · · · · · MR. FRAY-WITZER:· Objection.

  11· · · ·A· · Well, two things.· First, I've never

  12· said that XBT actually did the attack.· I just

  13· said it was traced back to an IP address.· So one

  14· flaw with Mr. Ferrante is he was saying just

  15· because the IP address was registered to XBT, that

  16· that meant they did the attack, which was false.

  17· And then the second argument I'm making is,

  18· Mr. Ferrante is saying because the IP address was

  19· registered to XBT, that the packets had to

  20· originate from XBT.· He did not consider anywhere

  21· in his report the idea that on the Internet,

  22· especially during attacks, that IP addresses can

  23· be spoofed.

  24· · · ·Q· · In other words, you mean you think that

  25· there's a possibility that attacks that are


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  ·1· originated from IP addresses that belonged to ASNs

  ·2· assigned to XBT could, in fact, be being

  ·3· originated outside of those ASNs?

  ·4· · · ·A· · Yes, if the -- the source IP address

  ·5· could be a spoof.· So somebody could be sending a

  ·6· packet from another network and spoof the IP

  ·7· addresses, and especially with regard to Fancy

  ·8· Bear.· Fancy Bear was known to utilize spoofed IP

  ·9· addresses in their attacks.

  10· · · ·Q· · I thought you didn't know anything about

  11· Fancy Bear, Dr. Cole.

  12· · · · · · MR. FRAY-WITZER:· Objection.· That's not

  13· the testimony.

  14· · · ·A· · I said I'm -- I used my -- I think I

  15· clearly stated I used my expert analysis and

  16· experience --

  17· · · ·Q· · When you want to, Dr. Cole.

  18· · · ·A· · Well, in my --

  19· · · · · · MR. FRAY-WITZER:· Objection.· There's no

  20· question.

  21· · · ·Q· · But you didn't do that analysis when

  22· you -- this -- this analysis that you think

  23· Mr. Ferrante should have done, which says that

  24· you're always supposed to take into account that

  25· all IP addresses could be spoofed, that wasn't


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  ·1· your analysis of the CrowdStrike report, was it?

  ·2· · · · · · MR. FRAY-WITZER:· Objection.

  ·3· · · ·Q· · Turn to the back of your report.· I'm

  ·4· sorry, you can answer that question.· You didn't

  ·5· take that into account when you looked at the

  ·6· CrowdStrike IP addresses, did you?

  ·7· · · ·A· · Once again, my assignment was different

  ·8· than Mr. Ferrante's.· My assignment was to look

  ·9· solely at Mr. Ferrante's report and not perform

  10· separate analysis.· Once again, I could have done

  11· that, but my focus was solely on Mr. Ferrante's

  12· report.

  13· · · ·Q· · Well, that's not what you did in this

  14· case.· If you turn to paragraph 51, which happens

  15· to be on page 15, it reads, "In addition, based on

  16· a list of IP addresses provided by the Democratic

  17· National Committee (attached as Exhibit 1), listed

  18· below, none of them resolved to Webzilla."· And

  19· then you have a list of the IP addresses and the

  20· entities to whom those IP addresses resolve.

  21· · · · · · Do you see that?

  22· · · ·A· · I do.

  23· · · ·Q· · Yes.· You did that research.· Correct?

  24· That's not on the DNC exhibit list, is it?

  25· · · · · · MR. FRAY-WITZER:· Objection.· You can


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  ·1· answer.

  ·2· · · ·A· · Well, these IP addresses were based off

  ·3· of the list provided by the DNC --

  ·4· · · ·Q· · Correct.

  ·5· · · ·A· · -- in Exhibit 1.

  ·6· · · ·Q· · That list is attached as Exhibit A to

  ·7· your report.

  ·8· · · ·A· · Yes.

  ·9· · · ·Q· · That list does not have the entities to

  10· whom they resolve, does it?· You can look.· It's

  11· attached as Exhibit A to your report.

  12· · · ·A· · Right.· That is just the IP addresses.

  13· · · ·Q· · Right.· You did the work resolving the

  14· IP addresses to their owners.· Correct?

  15· · · ·A· · Correct.· And I believe we covered that

  16· earlier, that I used Whois and others to do that,

  17· yes.

  18· · · ·Q· · Right.· But in making that analysis, you

  19· didn't take into account that those IP addresses

  20· could be spoofed, did you?

  21· · · ·A· · Once again, two different components

  22· here.· What this is showing is this in support

  23· when Mr. Ferrante says that the IP address of the

  24· attacks -- and I'm showing that according to the

  25· DNC, none of those were registered to Webzilla.


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  ·1· · · ·Q· · Right.· But you're faulting

  ·2· Mr. Ferrante's analysis on the grounds that he

  ·3· didn't take into account that IP addresses could

  ·4· be spoofed in determining who their owners were,

  ·5· but you didn't take that into account in this

  ·6· either, did you?

  ·7· · · · · · MR. FRAY-WITZER:· Objection.· You can

  ·8· answer.

  ·9· · · ·A· · It's two different arguments.· So what

  10· I'm saying here is that the DNC provided a list of

  11· IP addresses and that none of those IP addresses

  12· are registered to Webzilla.· That has -- register

  13· has nothing to do with spoofing.

  14· · · ·Q· · Well, all the IP addresses that

  15· Mr. Ferrante talks about were registered to

  16· Webzilla or XBT.· Correct?

  17· · · ·A· · The point -- the point in the report,

  18· where I'm criticizing Mr. Ferrante, is not that he

  19· took an IP address and said who it's registered

  20· to.· He then drew the line that said because it's

  21· registered, therefore, XBT, therefore, the packets

  22· came from XBT.· And I'm saying he never considered

  23· spoofed addresses in that analysis.

  24· · · ·Q· · Dr. Cole, I was with you until that last

  25· sentence.· I understand that you are criticizing


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  ·1· Mr. Ferrante for saying that because -- I

  ·2· understand that you think Mr. Ferrante is saying

  ·3· that XBT did these things because their IP

  ·4· addresses were used.· Right?· That's a criticism

  ·5· of Mr. Ferrante that you are making.· Correct?

  ·6· · · ·A· · Right, that he is using solely the IP

  ·7· address to make that conclusory statement, which

  ·8· is not true.

  ·9· · · ·Q· · That's one thing, as in, you think that

  10· Mr. Ferrante is putting bodies behind desks based

  11· on IP addresses.· Do you understand what I mean by

  12· that?

  13· · · ·A· · Yes, and that is one of my criticisms.

  14· · · ·Q· · Okay.· That criticism has nothing to do

  15· with spoofing.· Correct?

  16· · · ·A· · Right.· So there's several arguments.

  17· I'm getting concerned we're mixing --

  18· · · ·Q· · Just one at a time.· I understand.

  19· That's what I'm trying to figure out.

  20· · · · · · That criticism has nothing to do with

  21· spoofing.· You're just making the claim that he's

  22· putting bodies behind desks based on IP addresses,

  23· and you think that's wrong.· Right?· That's one

  24· claim.· That's one criticism.· Right?

  25· · · ·A· · That is one of the arguments, yes.


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  ·1· · · ·Q· · I don't understand the spoofing

  ·2· argument.· The spoofing argument doesn't make

  ·3· sense to me.· Are you saying that you think that

  ·4· these transactions described throughout

  ·5· Mr. Ferrante's report, for example, the fact that

  ·6· there is an IP address that is linked to Root S.A.

  ·7· that shares an SSL certificate with IP addresses

  ·8· linked to Fancy Bear, are you saying you believe

  ·9· that there could be spoofing involved in that link

  10· of that IP address to the SSL certificate?

  11· · · · · · MR. FRAY-WITZER:· Objection.· You can

  12· answer.

  13· · · ·A· · What I am saying is that -- admit, a lot

  14· of the analysis Mr. Ferrante performed was very

  15· one-sided, where he would provide one side and not

  16· present the whole piece, and with doing IP

  17· analysis, one of the things you need to consider

  18· is the potential that it could be spoofed.· And

  19· nowhere in Mr. Ferrante's report does he cover or

  20· address the fact that IP addresses could be

  21· spoofed.

  22· · · ·Q· · Is it your testimony that it is possible

  23· to spoof an IP address that communicates with an

  24· SSL certificate?

  25· · · ·A· · You could do source routing and spoof


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  ·1· the certificate, yes, that could be possible.

  ·2· · · ·Q· · So is it your testimony that it's wrong

  ·3· that the IP address associated with the SSL

  ·4· certificate was affiliated with Fancy Bear?

  ·5· · · · · · MR. FRAY-WITZER:· Objection.· You can

  ·6· answer.

  ·7· · · ·A· · I'm sorry, what was the question?

  ·8· · · ·Q· · Is it your testimony that it's wrong

  ·9· that the Root S.A. IP address associated with --

  10· was associated with an SSL certificate affiliated

  11· with Fancy Bear?· It's page 15 of Mr. Ferrante's

  12· report.

  13· · · · · · MR. FRAY-WITZER:· Objection.

  14· · · ·A· · Sorry, which sentence are you asking?

  15· · · · · · MS. BOLGER:· You know what, this is

  16· going to be a little bit of a long line of

  17· questioning.· I have got to go to the bathroom so

  18· let's take a break.

  19· · · · · · THE VIDEOGRAPHER:· Going off the record

  20· at 11:14.

  21· · · · · · · ·(A brief recess was taken.)

  22· · · · · · THE VIDEOGRAPHER:· We are back on the

  23· record at 11:27.

  24· BY MS. BOLGER:

  25· · · ·Q· · Again, just trying to understand your


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  ·1· testimony, Dr. Cole, is it your testimony that

  ·2· Mr. Ferrante's statement -- and I'll look at

  ·3· page 13 -- that one of those bitlinks was created

  ·4· by an IP address owned by Root S.A.,

  ·5· 94.242.205[.]147, is wrong?

  ·6· · · ·A· · I do not believe I said that.

  ·7· · · ·Q· · I'm asking you that.· Is it your opinion

  ·8· that that is wrong?

  ·9· · · ·A· · No, it is not.· It is my opinion that

  10· that is not a conclusive piece of evidence to then

  11· say that that means that XBT committed those

  12· attacks.

  13· · · ·Q· · This is what I referred to a little

  14· while ago as the putting bodies behind desks

  15· point.· Correct?

  16· · · ·A· · Okay, yes.

  17· · · ·Q· · Is that correct?· In other words, your

  18· complaint about this is not that it is wrong that

  19· those bitlinks were created by an IP address owned

  20· by Root S.A.· Your criticism of this is that you

  21· believe it is wrong for Mr. Ferrante to say, which

  22· you think he does, that an XBT individual created

  23· that bitlink.· Correct?

  24· · · ·A· · That -- that was one of the arguments.

  25· The other one is that he is presenting this as


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  ·1· something that is unique to only XBT and not that

  ·2· this happens to many other companies.· This type

  ·3· of analysis, as I've shown in my report, can be

  ·4· done with many other companies out there.

  ·5· · · ·Q· · Great.· But you are not saying that that

  ·6· bitlink -- sorry.· It's too many negatives.

  ·7· · · · · · You are -- you are not saying that this

  ·8· bitlink was not created by an IP address owned by

  ·9· Root S.A.

  10· · · ·A· · That is correct.· So I was getting all

  11· the negatives.

  12· · · ·Q· · Apologies.

  13· · · · · · Okay.· Similarly, your -- is it your

  14· opinion that -- if you'll turn to page 15 -- it

  15· is -- it's so many negatives, Dr. Cole -- it is

  16· not your opinion that the Root S.A. IP address

  17· referenced in the sentence that begins "Further

  18· review" -- are you with me on -- strike that whole

  19· thing.· We'll start from the beginning.

  20· · · · · · There's a sentence here that says,

  21· "Further review found that the SSL certificate has

  22· been distributed to 40 other IP addresses and that

  23· one of those is owned by Root S.A."· Correct?

  24· · · ·A· · That is correct.

  25· · · ·Q· · You are not questioning the ownership of


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  ·1· that IP address by Root S.A.· Correct?

  ·2· · · ·A· · That is correct.

  ·3· · · ·Q· · Nor its affiliation with the SSL

  ·4· certificate.· Correct?

  ·5· · · ·A· · That is also correct.

  ·6· · · ·Q· · Similarly, on page 16, that lists the IP

  ·7· addresses affiliated with Root S.A. that were

  ·8· listed on the Grizzly Steppe report, you are not

  ·9· arguing that Mr. Ferrante is wrong that these are,

  10· in fact, owned by Root S.A.· Correct?

  11· · · ·A· · Right, I am not arguing that.· I am just

  12· saying that that is not conclusory for the

  13· statements he's making.

  14· · · ·Q· · For the reasons we discussed, which are,

  15· one, you believe that his report says XBT did it,

  16· and, two, you believe other companies were

  17· involved and that should have been included in the

  18· report.· Correct?

  19· · · ·A· · Correct.· And then the third one was

  20· that he didn't anywhere in his report take into

  21· account the fact that spoofing is a technique that

  22· can be used by adversaries.

  23· · · ·Q· · But this is a document that's produced

  24· by -- sorry.· Your -- as you sit here, you are

  25· saying that it is possible that Root S.A. does not


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  ·1· own these IP addresses.

  ·2· · · · · · MR. FRAY-WITZER:· Objection.

  ·3· · · ·A· · Maybe I misunderstood the question.

  ·4· · · ·Q· · Your testimony is that you claim, as you

  ·5· sit here, that someone could have used Root S.A.'s

  ·6· IP addresses without them knowing it.

  ·7· · · ·A· · That is a possibility.

  ·8· · · ·Q· · How likely is that to have happened?

  ·9· · · · · · MR. FRAY-WITZER:· Objection.· You can

  10· answer.

  11· · · ·A· · Not zero and not 100.

  12· · · ·Q· · It's probably more like 1 percent.

  13· Correct?

  14· · · · · · MR. FRAY-WITZER:· Objection.· I mean,

  15· don't speculate.· If you know --

  16· · · · · · MS. BOLGER:· Your expert witness, I'm

  17· asking about his knowledge.· He can obviously

  18· answer the question.

  19· · · · · · MR. FRAY-WITZER:· He can answer if he

  20· has knowledge of it.

  21· · · · · · MS. BOLGER:· Sure.

  22· · · · · · MR. FRAY-WITZER:· But dispelling it --

  23· BY MS. BOLGER:

  24· · · ·Q· · How likely is it that someone is

  25· spoofing a Root S.A. IP address or, in this case,


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  ·1· all of the Root S.A. IP addresses used in this

  ·2· report?

  ·3· · · ·A· · I would have to go back to check a

  ·4· number, but I do a lot of work in investigations,

  ·5· and we do run across spoofed IP addresses.· So it

  ·6· does happen.

  ·7· · · ·Q· · You said you can only spoof an IP

  ·8· address and actually complete extraction on UDP.

  ·9· Correct?

  10· · · ·A· · No.· You can with TCP if you use source

  11· routing.· You can actually do a source route and

  12· still be able to complete a connection, and then

  13· UDP is connectionless so you can also much easier

  14· with UDP.

  15· · · ·Q· · UDP is effectively broadcasting

  16· information.· Correct?

  17· · · ·A· · No.· So TCP is like certified mail, and

  18· UDP is regular mail.· So you just send -- you send

  19· and forget.· So it's still a one-to-one.· It

  20· doesn't have to be a broadcast, but it's a

  21· one-to-one with UDP.· There's just no confirm

  22· receipt.

  23· · · ·Q· · It takes a huge amount of bandwidth.

  24· Correct?

  25· · · · · · MR. FRAY-WITZER:· Objection.· You can


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  ·1· answer.

  ·2· · · ·Q· · To make a UDP transmission.

  ·3· · · ·A· · Actually, no, quite the opposite.· TCP,

  ·4· because it has the three-way handshake and the

  ·5· extra overhead, is actually more bandwidth.· So in

  ·6· real-time communication or in areas where

  ·7· bandwidth is an issue, that's typically where UDP

  ·8· is used.

  ·9· · · ·Q· · Do you have any evidence that any of

  10· these IP addresses referenced in Mr. Ferrante's

  11· report were spoofed?

  12· · · ·A· · No, I do not.

  13· · · ·Q· · What is source routing and how would

  14· that work?

  15· · · ·A· · If I get too in the weeds, stop me, but

  16· you have your protocol stack, so at layer 3 you

  17· have IP address and you have your IP header.· And

  18· your IP header has options.· One of the options is

  19· source routing.· So the general concept is

  20· normally if Evan sends a packet to you, it would

  21· have Evan's source IP address, and then you would

  22· reply back to that.

  23· · · · · · What I can do is I can go in and spoof

  24· Evan's source IP, but I can now use source routing

  25· to say it has to route through me.· So now, when


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  ·1· you reply, you think you're going to Evan but the

  ·2· source routing, it forces it to me.· I intercept

  ·3· it so we're now communicating even though it looks

  ·4· like you're going to Evan's IP.

  ·5· · · ·Q· · Okay.

  ·6· · · · · · Can you tell me where in the report,

  ·7· Mr. Ferrante's report, you think he says that XBT

  ·8· itself did any of these malicious acts?

  ·9· · · ·A· · Page 36, "Conclusions."

  10· · · ·Q· · Where?

  11· · · ·A· · Do you want me to read the paragraphs to

  12· you?

  13· · · ·Q· · I want to know where.· Just point to a

  14· paragraph.

  15· · · ·A· · So, first, "XBT and its affiliated web

  16· hosting companies provided gateways to the

  17· Internet for cybercriminals and Russian

  18· state-sponsored actors to launch and control

  19· large-scale malware campaigns over the past

  20· decade."

  21· · · ·Q· · All right.· Stop there.

  22· · · · · · It doesn't say that XBT launched and

  23· controlled large-scale malware campaigns.· Right?

  24· It says it provided a gateway.· Correct?

  25· · · ·A· · What was the specific question?


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  ·1· · · ·Q· · I asked you to tell me where in the

  ·2· report it said that XBT itself launched attacks,

  ·3· any of the cyber attacks articulated in the

  ·4· report.

  ·5· · · ·A· · In the beginning he lists what his

  ·6· assignment was, listing those three bullets.· And

  ·7· at the end --

  ·8· · · ·Q· · Sorry, where are you, sir?

  ·9· · · ·A· · Page 3.

  10· · · ·Q· · Okay.· Where does it say that XBT itself

  11· launched the malicious cyber attacks articulated

  12· in the report?

  13· · · ·A· · His report was written to support the

  14· statement made by BuzzFeed about XBT, and then in

  15· the conclusion, he is saying that XBT affiliates

  16· own infrastructure, XBT's infrastructure was all

  17· used in the attacks.

  18· · · ·Q· · None of those sentences say that XBT did

  19· the attacks, do they?

  20· · · ·A· · None of those say that, but in reading

  21· the entire report, based on the statement he is

  22· trying to prove, he is implying that in his

  23· report.

  24· · · ·Q· · He's not saying it, is he?

  25· · · · · · MR. FRAY-WITZER:· Objection.


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  ·1· · · ·A· · Once again, in my expert opinion, in

  ·2· reading his report, he is implying that there is

  ·3· evidence to support the statement made by

  ·4· BuzzFeed.

  ·5· · · ·Q· · Is there something about your expert

  ·6· knowledge that makes English language mean

  ·7· different things to you than it does to me?

  ·8· · · · · · MR. FRAY-WITZER:· Objection.

  ·9· · · ·A· · Once again, in my expert opinion, he

  10· wrote this report to basically prove the validity

  11· of the BuzzFeed statement.

  12· · · ·Q· · If you look at your report, paragraph 40

  13· says -- I'll let you get there, it's on page 10 --

  14· "XBT/Webzilla is not responsible for every bit of

  15· data that a bad actor passes over its

  16· infrastructure any more than a post office is

  17· responsible for the actions of the Unabomber."

  18· · · · · · Are you with me?

  19· · · ·A· · Yes, I am.

  20· · · ·Q· · Are you saying that web hosting

  21· companies have no obligation at all to monitor or

  22· control the traffic that travels over the network?

  23· · · ·A· · The idea of a web hosting provider is

  24· that you're providing content to others.· As XBT

  25· has done, if there are issues or problems and


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  ·1· they're made aware of them, then they would take

  ·2· down that infrastructure or perform some action,

  ·3· but there's no possible way they can monitor and

  ·4· know all the traffic going over their

  ·5· infrastructure.

  ·6· · · ·Q· · Do you think the post office is not

  ·7· responsible for the actions of the Unabomber after

  ·8· the first bomb goes through?

  ·9· · · · · · MR. FRAY-WITZER:· Objection.· You can

  10· answer.

  11· · · ·A· · Once again, once you're made aware of a

  12· problem, you typically would put measures in

  13· place, but once again, regardless, that is not the

  14· analysis that was performed in this case.· The

  15· analysis in this case was whether the statement

  16· made by BuzzFeed that XBT was involved and

  17· transmitted malicious attacks against the DNC and

  18· whether there was any proof in Mr. Ferrante's

  19· report of that.

  20· · · · · · MS. BOLGER:· I'm so sorry, can I just

  21· see my question again.

  22· · · ·Q· · So you said once you become aware of the

  23· problem, you typically put measures in place.

  24· Right?· You said that?

  25· · · ·A· · Once again, you have to look at a


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  ·1· case-by-case in cybersecurity, but, usually, if

  ·2· you're aware, depending on what the issue is and

  ·3· other problems, you might or might not take

  ·4· action.

  ·5· · · ·Q· · What if you had 32 bad actions happen on

  ·6· your network, same IP address?· Might you take

  ·7· some actions then?

  ·8· · · · · · MR. FRAY-WITZER:· Objection.

  ·9· · · ·A· · Once again, it really depends on what

  10· those actions are, the business, the agreements

  11· you have in place.· There's a lot of factors that

  12· come into play.

  13· · · ·Q· · What about if you had 58 malicious acts

  14· on the same IP address?· Would you take some kind

  15· of action then?

  16· · · · · · MR. FRAY-WITZER:· Objection.· Over what

  17· time period?· What kind of action?

  18· · · ·A· · Once again, it depends on a lot of

  19· factors in place.· Once again, as I showed in my

  20· report, that a lot of these types of activities

  21· occur with Google, occur with Amazon, and occur

  22· with a lot of other big companies.· So it depends

  23· on a lot of factors.

  24· · · ·Q· · In your expert opinion, if Google had

  25· 470 IP alerts on one IP address, would they


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  ·1· undertake some action?

  ·2· · · · · · MR. FRAY-WITZER:· Objection.

  ·3· · · ·A· · Once again, it depends a lot on time

  ·4· period, on other components.

  ·5· · · ·Q· · But if they had 470 abuse alerts on one

  ·6· IP address in, let's say, six months, in your

  ·7· expert opinion, should Google undertake some

  ·8· action?

  ·9· · · ·A· · Once again, it depends on the type of

  10· traffic, the business they're in, are a lot of

  11· factors.

  12· · · ·Q· · You don't think that they should be

  13· monitoring that?

  14· · · ·A· · Once again, with hosting providers and

  15· others, there's a lot of traffic going back and

  16· forth.· So I would have to look at the

  17· circumstances, the cost-benefit analysis, the

  18· overall security issues.· There's a lot of things

  19· in play that would be used to make those

  20· decisions.

  21· · · ·Q· · What if month after month they were

  22· being told there were problems and they did

  23· nothing to fix them?

  24· · · · · · MR. FRAY-WITZER:· Objection.

  25· · · ·A· · Once again, it depends on a lot of


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  ·1· circumstances, but that would be true of most of

  ·2· the big breaches that we've had where your and my

  ·3· Social Security number and other private data has

  ·4· been compromised.

  ·5· · · ·Q· · What if a network provider was fully

  ·6· aware that they had exposed systems and they did

  ·7· nothing to fix it?· Wouldn't that be a problem?

  ·8· · · · · · MR. FRAY-WITZER:· Objection.· You can

  ·9· answer.

  10· · · ·A· · Once again, it would depend on the

  11· situation and the issues, but more importantly,

  12· that wouldn't be relevant to the analysis of

  13· whether BuzzFeed made a false statement against

  14· XBT about them being involved with DNC attacks.

  15· That's completely separate and irrelevant from the

  16· overall security.

  17· · · ·Q· · In your opinion, what are the best

  18· practices a web hosting company should have in

  19· place to protect from malicious cyber activity?

  20· · · ·A· · Ones again, I would have to look at the

  21· revenue, the profit margins, the size of the

  22· organization, the business.

  23· · · ·Q· · XBT.· What are the best practices XBT

  24· should have in place to protect against malicious

  25· cyber activity?


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  ·1· · · · · · MR. FRAY-WITZER:· Objection.

  ·2· · · ·A· · I would have to go in and look at their

  ·3· infrastructure.· My company Secure Anchor, we do

  ·4· assessments where we do exactly that.· It's

  ·5· typically a three- to four-week effort in order to

  ·6· provide those best practices because it's not

  ·7· cookie cutter.· It's not one size fits all.

  ·8· · · ·Q· · You do that for a lot of companies,

  ·9· right, Secure Anchor?· You do that analysis for a

  10· lot of companies?

  11· · · ·A· · Many different size companies.

  12· · · ·Q· · You recommend that those types of

  13· analysis be done.· Correct?

  14· · · ·A· · Once again, it depends on the size of

  15· the business, the organization, the infrastructure

  16· and changes.· Some clients, we do it often.· Some,

  17· we do it very infrequent.

  18· · · ·Q· · You recommend that your clients have

  19· terms of uses and then have some penalty for

  20· violating them.· Correct?

  21· · · ·A· · Once again, I would have to look at the

  22· circumstances.· Cookie cutter security doesn't

  23· fit.· And the important thing is, whether they do

  24· or don't is not relevant to the analysis I perform

  25· in which I looked at the false statement that


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  ·1· BuzzFeed made about XBT.

  ·2· · · ·Q· · I disagree with you.· I think it's

  ·3· actually pretty relevant.

  ·4· · · · · · So here's why I think it's relevant.· Do

  ·5· you know if XBT has any kind of monitoring or any

  ·6· other measures in place to protect against

  ·7· malicious activity on its networks?

  ·8· · · · · · MR. FRAY-WITZER:· Objection.· You can

  ·9· answer.

  10· · · ·A· · Once again, that was not the scope of my

  11· analysis, and whether they did or did not has

  12· nothing to do with the fact that BuzzFeed said

  13· that XBT had been using botnets to transmit,

  14· plant, and steal data and conduct alerting

  15· operations.

  16· · · ·Q· · But it has to do with whether they've

  17· allowed their infrastructure to be used for those

  18· activities, doesn't it?

  19· · · · · · MR. FRAY-WITZER:· Objection.

  20· · · ·A· · Once again, it would depend on the

  21· measures of the terms and service, but that's not

  22· what the statement says.· The statement doesn't

  23· say whether their infrastructure.· It says whether

  24· XBT was transmitting, planting, and stealing data.

  25· · · ·Q· · Sure.· But, Dr. Cole, every minute of


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  ·1· this deposition you've been telling me you didn't

  ·2· do any investigation into a BuzzFeed report.· You

  ·3· did an investigation into Mr. Ferrante's report.

  ·4· Mr. Ferrante's report says that "XBT and its

  ·5· affiliated web hosting companies have provided

  ·6· gateways to the Internet for cybercriminals and

  ·7· Russian state-sponsored actors to launch and

  ·8· control large-scale malware campaigns over the

  ·9· past decade."· That's what you were hired to look

  10· into.· Correct?

  11· · · · · · MR. FRAY-WITZER:· Objection.· You can

  12· answer.

  13· · · ·A· · No.· As in my introduction, I was hired

  14· specifically regarding the statement that was made

  15· by BuzzFeed in relation to Mr. Ferrante's report.

  16· · · ·Q· · Dr. Cole, you've been testifying here

  17· for an hour and a half that the only thing you

  18· looked at was Mr. Ferrante's report.· Correct?

  19· · · · · · MR. FRAY-WITZER:· Objection.· That is

  20· not his testimony.

  21· · · ·Q· · And its exhibits.

  22· · · · · · MR. FRAY-WITZER:· Objection.· That was

  23· not his testimony.

  24· · · ·A· · I believe what my testimony was, I was

  25· hired to look at Mr. Ferrante's report and


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  ·1· determine whether Mr. Ferrante's report was

  ·2· accurate, correct, and proved whether this

  ·3· statement made by BuzzFeed was correct.· And I

  ·4· believe that's consistent with my testimony since

  ·5· we've started.

  ·6· · · ·Q· · Mr. Ferrante's report says that "XBT and

  ·7· its affiliated web hosting companies have provided

  ·8· gateways to the Internet for cybercriminals and

  ·9· Russian state-sponsored actors to launch and

  10· control large-scale malware campaigns over the

  11· past decade."· Correct?· It's what you pointed out

  12· to me.· It's on page 36.

  13· · · ·A· · It's one -- it's a -- how many page

  14· report is this?· It's a 25 --

  15· · · ·Q· · 36.· It's the last page.· It's the one

  16· you read to me.

  17· · · ·A· · 36-page -- 36-page report and that's one

  18· sentence out of the whole report.· If you read the

  19· whole report, Mr. Ferrante is heavily implying his

  20· report to support that statement made by BuzzFeed.

  21· · · ·Q· · But he is saying in his report that "XBT

  22· and its web hosting companies have provided

  23· gateways to the Internet for cybercriminals and

  24· Russian state-sponsored actors to launch and

  25· control large-scale malware campaigns over the


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  ·1· past decade."· Right?· That's what his report says

  ·2· on page 36.· Correct?

  ·3· · · ·A· · That's one of the many, many, many

  ·4· sentences in his report.

  ·5· · · ·Q· · Okay.· Wouldn't you agree with me that

  ·6· what activities XBT takes to monitor its networks

  ·7· to protect from malicious cyber activity is a

  ·8· relevant question to whether XBT is providing a

  ·9· gateway for cybercriminals?

  10· · · · · · MR. FRAY-WITZER:· Objection.· You can

  11· answer.

  12· · · ·A· · First, that's not what BuzzFeed said.

  13· BuzzFeed did not say they were a gateway.· And

  14· Mr. Ferrante's report was not arguing the

  15· security.· He was supporting that BuzzFeed's

  16· statement was valid and accurate.

  17· · · ·Q· · Why don't you answer the question I

  18· asked you.

  19· · · · · · MS. BOLGER:· Would you read it back,

  20· please.

  21· · · · · · · · · · ·(Record read.)

  22· · · · · · MR. FRAY-WITZER:· Objection.· You can

  23· answer.

  24· · · ·A· · Once again, relevant to my -- sorry,

  25· aligned with my assignment of what I was asked to


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  ·1· do, no, that was not a key component of it.· My

  ·2· focus was to look at the statement, look at

  ·3· Mr. Ferrante's report, and see if there was

  ·4· supporting evidence.

  ·5· · · ·Q· · That's still not answering my question.

  ·6· Mr. Ferrante's report says that XBT infrastructure

  ·7· was used by Russian state actors and other

  ·8· cybercriminals.· Agreed?

  ·9· · · · · · MR. FRAY-WITZER:· Objection.

  10· · · ·A· · That is one of the many, many things in

  11· his report.

  12· · · ·Q· · Okay.

  13· · · · · · Isn't what XBT does or does not do to

  14· monitor its network to prevent that kind of

  15· activity relevant to Mr. Ferrante's conclusions?

  16· · · · · · MR. FRAY-WITZER:· Objection.· You can

  17· answer.

  18· · · ·A· · Looking at Mr. Ferrante's report, I do

  19· not believe that was relevant.· He did not provide

  20· any details to their security.· He did not provide

  21· any factual information.· So within my scope of

  22· looking at Mr. Ferrante's report, he did not

  23· provide any evidence, analysis, or components.· He

  24· didn't go in and show me what their security was,

  25· and he didn't align that to any of his statements.


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  ·1· So with my focus solely on his report, no, that

  ·2· was not relevant analysis for me performing my

  ·3· expert report.

  ·4· · · ·Q· · Okay.· Can you turn to page 28 of

  ·5· Mr. Ferrante's report.· You will see a section

  ·6· that begins, "Statements from Deposition

  ·7· Testimony," and the first sentence is "Statements

  ·8· made during the deposition support that Root S.A.,

  ·9· and XBT as an organization, do not actively

  10· prevent the use of their infrastructure to support

  11· malicious cyber activity."

  12· · · · · · Do you see that?

  13· · · ·A· · I see that statement.

  14· · · ·Q· · Now, in your report you say that it's --

  15· I can't remember the word you used.· I just need a

  16· citation.

  17· · · · · · You say, "Mr. Ferrante provides zero

  18· deposition transcripts in his report and shows

  19· zero evidence to support his claim.· Mr. Ferrante

  20· seems to think it is acceptable to make false

  21· claims backed up by zero factual evidence."

  22· That's in paragraph -- sorry.· It's the

  23· penultimate page.

  24· · · · · · I truly don't understand this, Dr. Cole.

  25· Is it your testimony that Mr. Ferrante didn't


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  ·1· review deposition transcripts?

  ·2· · · ·A· · No.· I'm saying my assignment was to

  ·3· review this report.

  ·4· · · ·Q· · Yes.

  ·5· · · ·A· · He makes a statement that "statements

  ·6· made during a deposition," but he doesn't provide

  ·7· any of the statements, any of the facts, or any of

  ·8· the information to back up his analysis that that

  ·9· is a true or false statement.

  10· · · ·Q· · So I don't understand this.· If you turn

  11· to the next page, page 29, you will see that

  12· beginning with footnote 111, and carrying on with

  13· some breaks from 111 through 134, he's citing

  14· deposition transcript pages which correlate to

  15· quotations in the report.

  16· · · · · · What is your basis for saying he didn't

  17· review transcripts or put quotations in the

  18· report, given that?

  19· · · ·A· · I don't believe any of these support or

  20· show the technical evidence for his previous

  21· statements.

  22· · · ·Q· · That's not what you just said.· What you

  23· said is you don't think he looked at deposition

  24· testimony.

  25· · · · · · MR. FRAY-WITZER:· Objection.


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  ·1· · · ·A· · I do not believe I said that.

  ·2· · · ·Q· · Dr. Cole, you've spun me around on this.

  ·3· In your report you say, "provides zero deposition

  ·4· transcripts in his report and shows zero evidence

  ·5· to support this claim."

  ·6· · · · · · These are citations to actual deposition

  ·7· transcripts.· I don't understand what you're

  ·8· claiming, based on the fact that there are actual

  ·9· citations to deposition transcripts in this

  10· report.

  11· · · ·A· · These are depositions of the executives,

  12· and an executive not knowing about a server or a

  13· platform is not conclusory that -- whether a

  14· company does or does not have good security.

  15· · · ·Q· · What are the false claims backed up by

  16· zero factual evidence that Mr. Ferrante makes?

  17· · · ·A· · (Document review.)

  18· · · · · · His statement says they do not actively

  19· prevent the use of their infrastructure to support

  20· malicious cyber activity, which I read as

  21· technical protection measures in place, and he

  22· does not show any deposition testimony to support

  23· that claim of whether they're patching, whether

  24· they're scanning, whether they're doing

  25· vulnerability scanning.· It's just high-level


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  ·1· statements of what an engineer says or a

  ·2· background check, which, to me, that is not

  ·3· supportive of that technical statement.

  ·4· · · ·Q· · Is it your testimony that the testimony

  ·5· of the CTO of XBT cannot be used to establish the

  ·6· policies and practices of XBT?

  ·7· · · · · · MR. FRAY-WITZER:· Objection.· You can

  ·8· answer.

  ·9· · · ·A· · I did not say that.· What I'm saying is,

  10· Mr. Ferrante is making a claim that they do not

  11· actively prevent the use of the infrastructure,

  12· and I did not see any factual evidence that he

  13· quoted in his report to support that.

  14· · · ·Q· · So you said, "These are depositions of

  15· the executive, and an executive not knowing about

  16· a server or platform is not conclusory that a

  17· company does or does not have good security."

  18· That's your -- that's your testimony.· Agreed?

  19· · · ·A· · Yes.

  20· · · ·Q· · This is the CTO of the company.· Who

  21· else is responsible for knowing whether a company

  22· does or does not have good security?

  23· · · · · · MR. FRAY-WITZER:· Objection.· You can

  24· answer.

  25· · · ·A· · The CTO is the chief technology officer,


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  ·1· so they are typically responsible at a high level

  ·2· for the strategic design of technology.· Usually

  ·3· your chief security officer or the security

  ·4· manager or the security engineer would have the

  ·5· detailed information.

  ·6· · · ·Q· · Do you think that person exists at XBT?

  ·7· · · · · · MR. FRAY-WITZER:· Objection.· If you

  ·8· know.

  ·9· · · ·A· · I don't know the org chart and the

  10· breakdown of XBT.

  11· · · ·Q· · Who else at XBT has any knowledge of the

  12· infrastructure at XBT?

  13· · · · · · MR. FRAY-WITZER:· Objection.· If you

  14· know.

  15· · · ·A· · Once again, outside the scope of my

  16· analysis.

  17· · · ·Q· · Would you be surprised that there is no

  18· security engineer at XBT?

  19· · · · · · MR. FRAY-WITZER:· Objection.

  20· · · ·A· · Once again, I don't know the size of the

  21· organization.· That was not my analysis.

  22· · · ·Q· · You don't know the size of the

  23· organization.

  24· · · ·A· · I don't know their org chart, number of

  25· people, number of servers.· That was not my task.


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  ·1· My task --

  ·2· · · ·Q· · Any idea how many clients they have?

  ·3· · · ·A· · Once again, when I'm brought in as an

  ·4· expert, it's sometimes wide, sometimes narrow.· My

  ·5· tasking was specifically to look at Mr. Ferrante's

  ·6· report.

  ·7· · · ·Q· · How about how much -- how many -- how

  ·8· much infrastructure they have, how many servers?

  ·9· · · ·A· · Once again, I was not asked to perform

  10· that analysis.

  11· · · ·Q· · So you don't know if the CTO was the

  12· person most knowledgeable in the company or not.

  13· · · ·A· · Once again, my statement in my report

  14· was based on I do not believe that Mr. Ferrante

  15· provided the proper technical supporting evidence

  16· and factual information to back up his claim.

  17· · · ·Q· · So you can't opine, as you sit here,

  18· that XBT and its affiliates have industry standard

  19· security policies and procedures in place?

  20· · · · · · MR. FRAY-WITZER:· Objection.· You can

  21· answer.

  22· · · ·A· · Once again, I can absolutely perform

  23· assessment for them, but that's not what I was

  24· asked to perform.· I was asked to perform

  25· Mr. Ferrante's, and I do not believe what he put


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  ·1· in his report is supporting the factual evidence

  ·2· for his claims.

  ·3· · · ·Q· · Right.· So you can't opine in this case

  ·4· as to whether XBT has appropriate industry

  ·5· standard security procedures in place.

  ·6· · · ·A· · Right.· I was not asked to perform that

  ·7· analysis.· My tasking was very specifically

  ·8· focused on Mr. Ferrante's report.

  ·9· · · ·Q· · That's fine.

  10· · · · · · I'm going to ask you to turn to page 11

  11· of your report, which, oh, sorry, paragraph --

  12· · · · · · MR. FRAY-WITZER:· I don't have a

  13· paragraph.

  14· · · · · · MS. BOLGER:· I didn't write down my

  15· paragraph number.· Paragraph 43.

  16· BY MS. BOLGER:

  17· · · ·Q· · Paragraph 43 says, "To avoid unnecessary

  18· repetition by addressing each point made in the

  19· report, I have summarized a list of some of the

  20· largest cyber attacks in history, having come from

  21· different parts of the world, specifically,

  22· different Regional Internet Registries (RIRs) and

  23· the Autonomous Systems (AS) which belong to those

  24· regions."

  25· · · · · · Do you see that sentence?


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  ·1· · · ·A· · Yes, I do.

  ·2· · · ·Q· · Dr. Cole, where is that summary?

  ·3· · · ·A· · It looks like it was accidentally

  ·4· removed or deleted, because there was a section

  ·5· after this that did have that information, but I

  ·6· am not seeing it in this report.

  ·7· · · ·Q· · Between the two of us, I'm glad I'm not

  ·8· going crazy.· Okay.· Thanks.· Thanks for that

  ·9· answer, Dr. Cole.· Okay.

  10· · · · · · Was that analysis a basis for your

  11· opinion in this case?

  12· · · ·A· · No.· It was just basically showing that

  13· there were attacks that came from different

  14· Autonomous Systems.· It was supplemental to the

  15· other analysis that I performed.· So it wasn't

  16· critical to any of the opinions that I put in this

  17· report.

  18· · · ·Q· · As you sit here, is there anything else

  19· that you can remember that's missing from the

  20· report?

  21· · · ·A· · Not that I'm aware of.

  22· · · ·Q· · Do you know if XBT and its subsidiaries

  23· have a firewall to prevent malicious activity?

  24· · · · · · MR. FRAY-WITZER:· Objection.· You can

  25· answer.


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  ·1· · · ·A· · That was outside the scope of my

  ·2· analysis so I am not aware of their

  ·3· infrastructure, how their systems are set up or

  ·4· configured.

  ·5· · · ·Q· · Would that be an industry standard thing

  ·6· to have?

  ·7· · · ·A· · Once again, it depends on a lot of

  ·8· factors that I would have to look at and evaluate.

  ·9· · · ·Q· · What if you're a hosting company?· Would

  10· that be an industry standard thing to have?

  11· · · ·A· · Once again, it would depend on how

  12· they're configured, how they're set up, and what

  13· other components are in place.

  14· · · ·Q· · Okay.· Take a look for me at paragraph

  15· 31 -- no, 36.· You have a sentence here that says,

  16· "To expand on this point, why aren't companies

  17· such as AT&T, Verizon, Sprint, and CenturyLink,

  18· which own the Internet backbones, also being held

  19· accountable in this report for the services they

  20· sell to Webzilla?"

  21· · · · · · Are you with me?

  22· · · ·A· · Yes.

  23· · · ·Q· · Does AT&T have a firewall to guard

  24· against malicious activity?

  25· · · ·A· · Once again, I did not perform that


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  ·1· analysis.

  ·2· · · ·Q· · Would you expect, as an industry

  ·3· standard, that AT&T has a firewall to protect

  ·4· against malicious activity?

  ·5· · · ·A· · Once again, I find, working with

  ·6· companies, that they have very unique, creative

  ·7· ways of implementing security.· So they might,

  ·8· they might not.

  ·9· · · ·Q· · I thought you were an expert in the

  10· field of Internet security and would have some

  11· familiarity with industry standards.· Isn't that

  12· why you're here today?

  13· · · · · · MR. FRAY-WITZER:· Objection.

  14· · · ·A· · I'm here today because I offered my

  15· opinion on Mr. Ferrante's report.

  16· · · ·Q· · Your expert opinion as an industry

  17· expert.· Right?

  18· · · ·A· · That is correct.

  19· · · ·Q· · Okay.

  20· · · · · · As an industry expert, what are the

  21· standard procedures that a web hosting company

  22· would have in place to guard against malicious

  23· cyber activity?

  24· · · · · · MR. FRAY-WITZER:· Objection.· You can

  25· answer.


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  ·1· · · ·A· · Once again, it would be a variety of

  ·2· different things, but it would depend on the

  ·3· organization and situation.

  ·4· · · ·Q· · How about XBT.· What industry standard

  ·5· procedure should they have in place to guard

  ·6· against malicious cyber activity?

  ·7· · · ·A· · Once again, it would depend on the type

  ·8· of data, the information they have, what

  ·9· regulations are in place.· There's a lot of

  10· factors that go into play to answer that.

  11· · · ·Q· · You don't know a lot about XBT.· Right?

  12· · · · · · MR. FRAY-WITZER:· Objection.· You can

  13· answer.

  14· · · ·A· · Once again, my focus was on the

  15· Mr. Ferrante report so I did not do analysis of

  16· XBT.

  17· · · ·Q· · You don't know very much about XBT, do

  18· you?

  19· · · · · · MR. FRAY-WITZER:· Objection.· You can

  20· answer.

  21· · · ·A· · That was outside the scope of the report

  22· so that is correct.· I do not have a detailed

  23· understanding of XBT.

  24· · · ·Q· · You don't even have a general

  25· understanding of XBT, do you?


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  ·1· · · · · · MR. FRAY-WITZER:· Objection.

  ·2· · · ·A· · Once again, my focus was on the

  ·3· statement made by BuzzFeed and Mr. Ferrante's

  ·4· report.· I did not -- I was not tasked and did not

  ·5· perform any analysis of XBT.

  ·6· · · ·Q· · So you don't have a general awareness of

  ·7· XBT, do you, general understanding of XBT, do you?

  ·8· · · · · · MR. FRAY-WITZER:· Objection.· You can

  ·9· answer.

  10· · · ·A· · That was outside the scope and that was

  11· not my focus, so, no, I do not.

  12· · · ·Q· · Do you know if they've ever had abuse

  13· alerts for, for example, hacking on any of the IP

  14· addresses referenced in Mr. Ferrante's report?

  15· · · ·A· · Once again, outside the scope of my

  16· analysis.· I was asked to look solely at

  17· Mr. Ferrante's report in relation to the BuzzFeed

  18· comment.· I did not perform that analysis.         I

  19· could, but that's not what I was asked to do.

  20· · · ·Q· · So the answer is you do not know.

  21· · · ·A· · That is correct.

  22· · · ·Q· · You also do not know if they ever

  23· followed up on any abuse alerts they may have

  24· received on those IP addresses.· Correct?

  25· · · ·A· · Once again, outside the scope, but that


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  ·1· is correct.

  ·2· · · ·Q· · Okay.· It is nonetheless industry

  ·3· standard to follow up on abuse alerts on IP

  ·4· addresses.· Correct?

  ·5· · · · · · MR. FRAY-WITZER:· Objection.

  ·6· · · ·A· · Once again, depends on time periods,

  ·7· industry, many other factors.

  ·8· · · ·Q· · Do you have any evidence that the

  ·9· plaintiffs did have good security procedures in

  10· place?

  11· · · ·A· · Once again, that was outside the scope,

  12· and I don't think that was relevant to the

  13· statement made by BuzzFeed.

  14· · · ·Q· · But you don't have any knowledge as to

  15· whether they had good security procedures in

  16· place.

  17· · · ·A· · That was outside the scope so, correct.

  18· · · ·Q· · And you don't have any evidence that

  19· they did not have good security measures in place,

  20· either.· Correct?

  21· · · ·A· · That was also outside the scope so that

  22· would also be correct.

  23· · · ·Q· · I'm going to ask you to turn to

  24· paragraph 49 of the report.

  25· · · · · · THE WITNESS:· When we're at a good spot,


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  ·1· could we take a quick lunch break?

  ·2· · · · · · MS. BOLGER:· Yes.· Let me make sure

  ·3· lunch is here.

  ·4· · · · · · THE WITNESS:· Oh, you're bringing lunch.

  ·5· · · · · · MS. SCHARY:· Yes, we are.

  ·6· · · · · · THE WITNESS:· You guys are awesome.

  ·7· Okay.· Thank you.

  ·8· · · · · · MR. FRAY-WITZER:· They take care of us

  ·9· pretty well.

  10· · · · · · THE WITNESS:· I'm impressed.· Thank you.

  11· BY MS. BOLGER:

  12· · · ·Q· · So it's 49.· You actually don't need to

  13· read it at the moment.

  14· · · · · · Do I understand you to say that, in your

  15· expert opinion as an expert in the field of

  16· cybersecurity, web hosting companies have no

  17· responsibility for monitoring or stopping

  18· malicious packets that traverse their networks?

  19· · · ·A· · I did not say that, but that was outside

  20· the scope.· Once again, my focus was on the

  21· statement that BuzzFeed made about XBT affiliates

  22· using botnets to transmit, plant, and steal data.

  23· · · ·Q· · I'm not asking you about what your

  24· report says.· I'm asking you, in your expert

  25· opinion, as an expert in the field of


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  ·1· cybersecurity, is it your opinion that web hosting

  ·2· companies have no responsibility for monitoring or

  ·3· stopping malicious packets that traverse their

  ·4· networks?

  ·5· · · · · · MR. FRAY-WITZER:· Objection.· You can

  ·6· answer.

  ·7· · · ·A· · As I said, it depends on the business,

  ·8· their SLAs, a lot of factors in play that I would

  ·9· have to look at in order to be able to form that

  10· analysis.· I could, but that was outside the scope

  11· of what I was asked to do.

  12· · · ·Q· · But you're the person who brought this

  13· post office analogy.· Right?· That's all you,

  14· Dr. Cole.· That has nothing to do with

  15· Mr. Ferrante.· That has nothing to do with the

  16· dossier.· I assure you the words "post office" do

  17· not appear in Mr. Ferrante's report, and although

  18· a lot of words appear in the dossier, "post

  19· office" is not one of them.· Okay?

  20· · · · · · Can we all agree "post office" is all

  21· you?· Right?

  22· · · · · · MR. FRAY-WITZER:· Objection.

  23· · · ·Q· · Is there ever an obligation of the post

  24· office to stop bombs from going through?

  25· · · · · · MR. FRAY-WITZER:· Objection.· That's


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  ·1· just so clearly outside of the witness' scope or

  ·2· testimony or report.

  ·3· · · ·A· · Once again, I was using a general

  ·4· analogy to try to help explain technical concepts

  ·5· and common terms.· I would need a lot more

  ·6· information and a lot more data to make --

  ·7· · · ·Q· · You weren't explaining technical terms

  ·8· when you said, "XBT/Webzilla is not responsible

  ·9· for every bit of data that a bad actor passes over

  10· its infrastructure any more than a post office is

  11· responsible for the actions of the Unabomber."

  12· Those are your words, Dr. Cole.· I didn't give

  13· them to you.· Mr. Ferrante didn't.

  14· · · · · · Are you telling me you think that the

  15· post office can never be responsible for the

  16· actions of the Unabomber?

  17· · · · · · MR. FRAY-WITZER:· Objection.

  18· · · ·A· · I did not say that.· That's not what my

  19· statement says.

  20· · · ·Q· · That is what it says.· Read it.· Look at

  21· paragraph 40.· That's exactly what it says.

  22· · · · · · "XBT/Webzilla is not responsible for

  23· every bit of data that a bad actor passes over its

  24· infrastructure any more than a post office is

  25· responsible for the actions of the Unabomber."


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  ·1· · · · · · Do you see that?

  ·2· · · ·A· · I see that sentence.

  ·3· · · ·Q· · Okay.· Is it your testimony that the

  ·4· post office can never be responsible for the

  ·5· actions of the Unabomber?

  ·6· · · ·A· · You're adding "never" and other words in

  ·7· that's not in there.· I just said it's not

  ·8· responsible for every bit, every bit of data, and

  ·9· I'm saying it's not responsible for the actions of

  10· one person.

  11· · · ·Q· · Do you know that after the Unabomber

  12· started to use the United States mail to send

  13· bombs, the United States mail service changed

  14· their practices to scan the mail?· Do you know

  15· that?

  16· · · · · · MR. FRAY-WITZER:· Objection.· You can

  17· answer if you know.

  18· · · ·A· · I believe, if we go back to my earlier

  19· testimony, I did make a statement similar to,

  20· after something bad happens, there sometimes is

  21· actions and changes that are made.

  22· · · ·Q· · That's the best practice.· Right?

  23· · · ·A· · Well, those could be reactionary

  24· measures.· Those could be standard practices.

  25· Once again, it depends a lot on what the activity


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  ·1· was, what the impact was and many other factors.

  ·2· · · · · · MR. FRAY-WITZER:· Just for the record,

  ·3· it's Mr. Ferrante's report that first brings up

  ·4· old-fashioned mail delivery and uses it as an

  ·5· analogy.· So the word "post office" might not have

  ·6· been in there.

  ·7· · · · · · MS. BOLGER:· Evan, you're an excellent

  ·8· testifier.· Well done, Evan.

  ·9· · · · · · Do you want to take a break for lunch?

  10· · · · · · MS. SCHARY:· It's here.

  11· · · · · · MS. BOLGER:· We can eat lunch.

  12· · · · · · THE VIDEOGRAPHER:· Off the record at

  13· 12:12.

  14· · · · · · · ·(A lunch recess was taken.)

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  ·1· · · ·AFTERNOON SESSION commencing at 12:45 p.m.

  ·2· · · · · · THE VIDEOGRAPHER:· Here begins media

  ·3· number 2 in the video-recorded deposition of Eric

  ·4· Cole.· We're back on the record at 12:45.

  ·5· BY MS. BOLGER:

  ·6· · · ·Q· · Hi, again, Dr. Cole.

  ·7· · · · · · If you look at your report, page 12, and

  ·8· it's the articles that you reference and quote in

  ·9· the report.· So let's see what that's after,

  10· paragraph-wise.· After 46.

  11· · · ·A· · Okay.

  12· · · ·Q· · These are not full articles.· Right?

  13· These are the excerpts of articles?

  14· · · ·A· · I believe that to be true.· I listed the

  15· full URL, but I believe these are just portions.

  16· · · ·Q· · The first one is from 2006.· Correct?

  17· · · ·A· · That looks to be correct, yes.

  18· · · ·Q· · Before the iPhone was invented?

  19· · · ·A· · I think that's -- I was trying to

  20· remember when the iPhone was invented, but I'll

  21· have to trust your word on that.

  22· · · ·Q· · I can tell you that my daughter was

  23· invented in 2008, and it was about six months

  24· before she made her entrance into the world.

  25· · · ·A· · Oh, okay.· So you have a good data


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  ·1· point.

  ·2· · · ·Q· · I do.

  ·3· · · · · · Did you select these articles

  ·4· personally?

  ·5· · · ·A· · Yes.· I went in and just looked for a

  ·6· few sample articles.

  ·7· · · ·Q· · Why these two?

  ·8· · · ·A· · Just ones that give a range on showing

  ·9· that there's lots of traffic, lots of volume.         I

  10· thought these were concise articles that supported

  11· the arguments I was making in my report.

  12· · · ·Q· · Okay.· In both of these articles, the --

  13· they're about ISPs.· Correct?

  14· · · ·A· · That is correct.

  15· · · ·Q· · We talked earlier in the day about the

  16· fact that the plaintiffs here are a hosting

  17· company.· Right?

  18· · · ·A· · I do remember that conversation, yes.

  19· · · ·Q· · That's different than an ISP.· Correct?

  20· · · ·A· · Yes.· As I believe I mentioned, hosting

  21· providers have an ISP component, but they do

  22· provide more -- typically, more infrastructure.

  23· · · ·Q· · Okay.· Is it your expert opinion that

  24· the standards between the two of them, an ISP and

  25· a hosting company, should be the same?


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  ·1· · · ·A· · For the pieces -- the pipes to the

  ·2· Internet, there would be similarities, but a

  ·3· hosting provider would have some differences.

  ·4· · · ·Q· · Okay.· Then these articles don't relate

  ·5· exactly to the plaintiffs.

  ·6· · · ·A· · Well, a hosting provider has the hosting

  ·7· piece and then the ISP piece.· So it would relate

  ·8· to the ISP piece, and the reason I focused on that

  ·9· was Mr. Ferrante really focused on the IP address

  10· component outward, and that would be more the

  11· ISP-related piece.· If he was focused a lot more

  12· on the configuration of the servers, then I

  13· probably would have picked hosting providers, but

  14· I felt most of his analysis was more ISP-related

  15· functionality than the actual hosting provider

  16· functionality.

  17· · · ·Q· · Do you know what percentage of XBT's

  18· business is ISP provision?

  19· · · ·A· · No, I do not.

  20· · · ·Q· · Do you know that, for example,

  21· Mr. Gubarev has testified that they're not a

  22· telecommunications company?

  23· · · ·A· · I will take your word for that.

  24· · · ·Q· · Okay.· And you didn't know that other

  25· than my telling you that?


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  ·1· · · ·A· · Well, to me, a hosting provider does

  ·2· have an ISP component to it.· It does have a

  ·3· connectivity to the Internet, but, yes, they

  ·4· are -- they are viewed more as a hosting provider

  ·5· than ISP.

  ·6· · · ·Q· · Wait.· So do you -- do you know if XBT

  ·7· customers pay XBT to get Internet access in the

  ·8· way of a -- I'm from New York City, so a Time

  ·9· Warner Cable or a Spectrum or something like that?

  10· · · ·A· · That was outside the scope of my

  11· analysis so, no, I do not know.

  12· · · ·Q· · I can represent to you that, as a

  13· general matter, they do not.· Mr. Fray-Witzer will

  14· correct me if I'm wrong.

  15· · · · · · Does that change your analysis at all?

  16· · · ·A· · No, it doesn't.

  17· · · ·Q· · Why not?· I'm seriously asking.

  18· · · ·A· · Okay.· Because, once again, what I'm

  19· really focusing on is the traffic/IP address

  20· component, and, to me, even though these articles

  21· are on ISP, they're still relevant based on the

  22· discussion and argument made by Mr. Ferrante.

  23· · · ·Q· · In both of these articles -- and I have

  24· the complete ones if you want to look at them, but

  25· you may be able to answer from your memory.· In


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  ·1· both of these articles, they talk about the fact

  ·2· that ISP companies have the ability to monitor

  ·3· traffic.· Correct?

  ·4· · · · · · MR. FRAY-WITZER:· Objection.· You can

  ·5· answer.

  ·6· · · ·A· · Okay.· I believe you're referring to the

  ·7· functionality of security where you could monitor,

  ·8· but it could impact performance?

  ·9· · · ·Q· · Yes.

  10· · · ·A· · Okay.

  11· · · ·Q· · So, yes, in both of these articles, the

  12· articles discuss the fact that ISPs have the

  13· technological capacity to monitor traffic.

  14· Correct?

  15· · · ·A· · At a high level, I believe that to be

  16· correct, yes.

  17· · · ·Q· · Okay.· Well, actually, I thought both of

  18· these articles were at a relatively high level.

  19· Do you disagree with me on that?

  20· · · ·A· · I guess I said that because we're not

  21· referring to a specific sentence.· We're referring

  22· to the article as a whole, yes.

  23· · · ·Q· · Right.· The article, as a whole,

  24· referred to the industry as a whole.· The whole

  25· discussion is quite high level.· Would you agree


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  ·1· with me on that?

  ·2· · · ·A· · Yes, I would.

  ·3· · · ·Q· · And these are laypeople's articles.

  ·4· Correct?

  ·5· · · ·A· · Yes.

  ·6· · · ·Q· · Right.· In not very big publications.

  ·7· They're pretty small publications.· Correct?

  ·8· · · · · · MR. FRAY-WITZER:· Objection.· The Daily

  ·9· News?

  10· · · · · · MS. BOLGER:· It's not the Daily News.

  11· It's not the New York Daily News.· I would never

  12· disparage the New York Daily News.

  13· · · · · · MR. FRAY-WITZER:· I was going to say,

  14· from a New Yorker.

  15· · · · · · MS. BOLGER:· I mean, please.· You defame

  16· me.

  17· BY MS. BOLGER:

  18· · · ·Q· · One is from IDG News Services, and one

  19· is from the New Scientist.· Correct?

  20· · · ·A· · That looks to be accurate.

  21· · · ·Q· · So these are laypeople's articles.

  22· Correct?

  23· · · ·A· · Yes.· And that was the intention.

  24· · · ·Q· · No, I'm not being critical.· All right.

  25· · · · · · And the point is that in both of these


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  ·1· articles they talk about the fact that ISPs have

  ·2· the capacity to monitor the Internet.· They talk

  ·3· about whether the wisdom of they should be taking

  ·4· steps to monitor traffic on the Internet.

  ·5· Correct?

  ·6· · · ·A· · Yes.· It's always the balance between

  ·7· the functionality security and the cost factor

  ·8· associated with it.

  ·9· · · ·Q· · Do you know Mr. Kan or Mr. Marks?

  10· · · ·A· · No, I do not.

  11· · · ·Q· · Do you know anything about Mr. Kan or

  12· Mr. Marks?

  13· · · ·A· · No, I do not.

  14· · · ·Q· · I'm going to ask you to turn to my --

  15· got to start writing down numbers -- 50, please,

  16· paragraph 50, which is on page 15.

  17· · · · · · MS. BOLGER:· Do you know what, I'm so

  18· sorry, don't go anywhere, but can we just take a

  19· five-minute break.

  20· · · · · · MR. FRAY-WITZER:· Yes, of course.

  21· · · · · · · (Discussion off the record.)

  22· · · · · · THE VIDEOGRAPHER:· Going off the record

  23· at 12:53.

  24· · · · · · · ·(A brief recess was taken.)

  25· · · · · · THE VIDEOGRAPHER:· Back on the record at


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  ·1· 12:54.

  ·2· BY MS. BOLGER:

  ·3· · · ·Q· · Okay.· So I wanted to look at paragraph

  ·4· 50.· So this is -- "This investigation has no

  ·5· information" -- "this investigation" is in

  ·6· reference to Mr. Ferrante's investigation -- "has

  ·7· no information based on collection and analysis

  ·8· from XBT Holding systems.· No analysis of server

  ·9· logs and hard drives.· No analysis of router logs.

  10· No email or other digital communication analysis

  11· to determine if XBT Holding had any operational

  12· plans to deploy botnets and distribute pornography

  13· with virus payloads to the Democratic Party."

  14· · · · · · Do you see that?

  15· · · ·A· · Yes, I do.

  16· · · ·Q· · What logs do you think Mr. Ferrante

  17· should have looked at?

  18· · · · · · MR. FRAY-WITZER:· Objection.· You can

  19· answer.

  20· · · ·A· · Once again, I would need -- I would need

  21· some network diagrams and understand the

  22· infrastructure of XBT.· But, in general, if he is

  23· making claims that their infrastructure was used,

  24· you would look at the server logs, you could look

  25· at router logs, you could look at network device


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  ·1· logs.

  ·2· · · ·Q· · Well, you -- you're -- you're saying in

  ·3· this paragraph that Mr. Ferrante's investigation

  ·4· is flawed because he didn't look at logs.· In

  ·5· reaching that conclusion, what logs did you want

  ·6· him to look at?

  ·7· · · · · · MR. FRAY-WITZER:· Objection.· You can

  ·8· answer.

  ·9· · · ·A· · I thought I just said that.· It would be

  10· the --

  11· · · ·Q· · You equivocated quite a bit.· I want the

  12· actual answer --

  13· · · ·A· · Okay.

  14· · · ·Q· · -- to what you meant by faulting his

  15· investigation by saying he didn't look at logs.

  16· · · ·A· · So if he's saying certain IP addresses

  17· or servers were involved, you would look at the

  18· logs of those servers, look at the hard drives to

  19· see if there's any evidence.· And then you would

  20· also look at the logs of routers or switchers or

  21· other network devices.

  22· · · ·Q· · And know there are logs that you believe

  23· XBT maintained.

  24· · · · · · MR. FRAY-WITZER:· Objection.

  25· · · ·A· · Once again, that's why -- that's why I


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  ·1· said I would need to look at their infrastructure

  ·2· and how they're setting things up, but, typically,

  ·3· to go in and make claims like Mr. Ferrante, you

  ·4· would go in and look at the servers, you would

  ·5· look at the systems, you would monitor traffic,

  ·6· you would perform more detailed analysis of the

  ·7· actual systems, the servers and the hard drives.

  ·8· · · ·Q· · Right.· And XBT you would expect to

  ·9· maintain that information.· Correct?

  10· · · · · · MR. FRAY-WITZER:· Objection.· You can

  11· answer.

  12· · · ·A· · Once again, they could either maintain,

  13· or, in a lot of these, you can go in and set up

  14· sniffers.· You could turn on logging.· You could

  15· gather other information also.· I would have to

  16· look at the infrastructure.

  17· · · ·Q· · It's your conclusion he should have done

  18· it.· So I want to know what you think he should

  19· have done.· You can't -- it can't be a

  20· case-by-case basis.· You're saying Mr. Ferrante

  21· didn't do something.· Tell me the thing

  22· Mr. Ferrante should have done with the XBT

  23· infrastructure.

  24· · · · · · MR. FRAY-WITZER:· Objection.· You can

  25· answer.


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  ·1· · · ·A· · I thought I did, but I'll try again.

  ·2· · · ·Q· · No.· You keep telling me that it could

  ·3· be this, it could be that, it could be this, you

  ·4· don't know what they have.· "I don't know what

  ·5· they have" isn't a satisfactory answer in this

  ·6· context because you're saying he didn't do a

  ·7· thing.

  ·8· · · ·A· · And I think I said the server logs and

  ·9· hard drives and router logs.· So I would --

  10· · · ·Q· · And you expect XBT to have maintained

  11· those.

  12· · · · · · MR. FRAY-WITZER:· Objection.· You can

  13· answer.

  14· · · ·A· · Right.· So for this investigation, to

  15· have gone in, look at a network diagram; then

  16· examine the servers, look at the server

  17· configuration, how they're set up, their hard

  18· drives; and look at logs and whether or not

  19· they're maintained, there's still evidence on hard

  20· drives that be recovered and analyzed.

  21· · · · · · So I think what I put here is "No

  22· analysis of server logs or hard drives.· No

  23· analysis of routers.· No email or other digital

  24· communication."

  25· · · ·Q· · Did you look at server logs?


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  ·1· · · ·A· · Once again, my assignment was to mirror

  ·2· Mr. Ferrante.· So if Mr. Ferrante --

  ·3· · · ·Q· · So the answer is no.

  ·4· · · ·A· · If Mr. Ferrante did it, I would have.

  ·5· But since he did not do that and my scope was to

  ·6· focus solely on his report, I did not do that.

  ·7· · · ·Q· · That's not true.· I asked you earlier if

  ·8· you had done -- redone the analysis in

  ·9· Mr. Ferrante's report, and you told me you had not

  10· done so.· Correct?

  11· · · · · · MR. FRAY-WITZER:· Objection.

  12· · · ·Q· · You did not redo the analysis in

  13· Mr. Ferrante's report.· Correct?

  14· · · · · · MR. FRAY-WITZER:· Objection.· You can

  15· answer.

  16· · · ·A· · I would have to look back at the

  17· statement, but my focus was on Mr. Ferrante's

  18· report.· So I went through, looked at what he did

  19· and analyzed and provided analysis on the

  20· correctness of it.· So I just followed what he did

  21· in his report.· I was not hired to do independent,

  22· separate forensic analysis.

  23· · · ·Q· · Right.· But you didn't redo his analysis

  24· of the Bitly data.· Right?

  25· · · ·A· · Right.· I used the information in


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  ·1· Mr. Ferrante's report to do my analysis.

  ·2· · · ·Q· · Right.· You didn't redo his analysis of

  ·3· the Bitly data.· Correct?

  ·4· · · ·A· · Right.· I used his report.· I did not

  ·5· redo or perform any analysis outside the scope of

  ·6· looking at his report, which was what my

  ·7· assignment was.

  ·8· · · ·Q· · And you didn't redo his analysis of the

  ·9· malware hashes as they related to the SSL

  10· certificate controlled by Fancy Bear.· Correct?

  11· · · ·A· · Once again, that was outside the scope.

  12· I could have, but no, I did not do that because

  13· that's not what I was asked to do.

  14· · · ·Q· · Right.· Your report is about the

  15· conclusions in Mr. Ferrante's report, but you did

  16· not redo the analysis.· Correct?

  17· · · ·A· · That is correct.

  18· · · ·Q· · So now my question was, did you do a

  19· forensic analysis of the server logs at XBT.· And

  20· you said no.· Correct?

  21· · · ·A· · That is correct.

  22· · · ·Q· · And you did not do a forensic analysis

  23· of the XBT hard drives.· Correct?

  24· · · ·A· · Once again, outside the scope, so that

  25· is correct.


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  ·1· · · ·Q· · You did not do an analysis of XBT's

  ·2· routers logs.· Correct?

  ·3· · · ·A· · That would be outside the scope so that

  ·4· would also be correct.

  ·5· · · ·Q· · You did not do an analysis of the email

  ·6· or other digital communications at XBT.· Correct?

  ·7· · · ·A· · Once again, outside the scope so that

  ·8· would be correct.

  ·9· · · ·Q· · So just as you believe Mr. Ferrante

  10· cannot opine on whether XBT had operational plans

  11· to deploy botnets and distribute pornography, you

  12· cannot opine on that either, can you?

  13· · · ·A· · Once again, Mr. Ferrante and myself had

  14· two different assignments.· So if we look at the

  15· beginning of his report, what he was asked to do

  16· and what I was asked to do are two different

  17· things.· My sole focus was not to perform an

  18· analysis.· It was to look solely at Mr. Ferrante's

  19· report and provide a technical analysis.

  20· · · ·Q· · I'm going to ask again because you

  21· didn't answer me.· So just as you believe

  22· Mr. Ferrante cannot opine on whether XBT had

  23· operational plans to deploy botnets and distribute

  24· pornography, you cannot opine on that either, can

  25· you, because you didn't do a forensic analysis


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  ·1· either, did you?

  ·2· · · ·A· · Once again, Mr. Ferrante and myself had

  ·3· two different assignments, if you look at the

  ·4· beginning of our reports.· My focus was solely on

  ·5· looking at his report.· So that was outside the

  ·6· scope and that was not part of what I was tasked

  ·7· to do so I did not perform that.

  ·8· · · ·Q· · As you sit here today, do you think that

  ·9· you have conducted a sufficient analysis to opine

  10· on whether XBT Holdings deployed botnets or

  11· distributed pornography with virus payloads to the

  12· Democratic Party?

  13· · · ·A· · That is not what I was asked to do.

  14· That was not my assignment.· My assignment was to

  15· look solely at Mr. Ferrante's report so, no, that

  16· was not the tasking.· I could do that, but that is

  17· not what I was asked to perform in this case.

  18· · · ·Q· · Okay.· So you do not have -- sorry.

  19· Strike that.

  20· · · · · · So you have not conducted a sufficient

  21· analysis to opine on whether XBT Holdings deployed

  22· botnets and distributed pornography with virus

  23· payloads to the leadership of the Democratic

  24· Party.

  25· · · ·A· · My assignment and scope was to look at


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  ·1· Mr. Ferrante's report.· In looking at

  ·2· Mr. Ferrante's report and using that as my basis,

  ·3· I draw my conclusions in the report.· If you're

  ·4· looking for a different scope, where you're saying

  ·5· that I independently, outside of Mr. Ferrante,

  ·6· performed my own forensic analysis, that was not

  ·7· the scope, and I did not perform that work.

  ·8· · · ·Q· · So you cannot reach a conclusion as to

  ·9· whether XBT Holdings deployed botnets and

  10· distributed pornography with virus payloads to the

  11· leadership of the Democratic Party, can you?

  12· · · ·A· · Once again, that was not the scope.

  13· That was not what I was asked to do.· So I cannot

  14· answer a question that was outside the scope.· So,

  15· no, I did not answer that question because that

  16· was not my assignment or what my direction was.

  17· · · ·Q· · So you didn't reach a conclusion as to

  18· whether XBT Holdings deployed botnets and

  19· distributed pornography with virus payloads to the

  20· leadership of the Democratic Party.· Right?

  21· · · ·A· · With response to Mr. Ferrante's report,

  22· I did --

  23· · · ·Q· · No, your conclusion about your work.

  24· Did you reach a conclusion as to whether XBT

  25· Holdings deployed botnets and distributed


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  ·1· pornography with virus payloads to the leadership

  ·2· of the Democratic Party?

  ·3· · · · · · MR. FRAY-WITZER:· Objection.· You can

  ·4· answer.

  ·5· · · ·A· · With respect to Mr. Ferrante -- you need

  ·6· to let me answer my question.

  ·7· · · · · · With response to Mr. Ferrante's report,

  ·8· I went in and used the information in this report

  ·9· to come up with conclusions on that.· If you're

  10· asking if I did an independent, separate analysis

  11· outside of Mr. Ferrante's report, that was outside

  12· the scope of what I was asked to do, and I did not

  13· perform that.

  14· · · ·Q· · I'm asking you what opinion you're

  15· offering in this case.· Are you offering the

  16· opinion in this case that XBT did not deploy

  17· botnets and distributed -- or distribute

  18· pornography with virus payloads to the Democratic

  19· Party, based on your own analysis?

  20· · · ·A· · The opinion I'm offering in this case is

  21· that -- using the information in Mr. Ferrante's

  22· report, who was hired by the defendant -- that

  23· there was no evidence to support the claim that

  24· "XBT/Webzilla and its affiliates had been using

  25· botnets and porn traffic to transmit viruses,


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  ·1· plant bugs, steal data, and conduct 'altering

  ·2· operations' against the Democratic Party

  ·3· leadership.· Entities linked to one Aleksej

  ·4· Gubarev were involved, and he and another hacking

  ·5· expert, but recruited under duress by the FSB,

  ·6· were significant players in the operation."

  ·7· · · ·Q· · Right.· You're offering the opinion that

  ·8· Mr. Ferrante didn't prove it.

  ·9· · · · · · I'm asking you whether in your research

  10· you were able to establish that XBT did not deploy

  11· botnets or distribute pornography with virus

  12· payloads to the DNC.

  13· · · · · · MR. FRAY-WITZER:· Objection.· You can

  14· answer.

  15· · · ·A· · Once again, my focus was --

  16· · · ·Q· · Dr. Cole, juries know when you're

  17· fudging.· Come on, answer the question.

  18· · · ·A· · I am answering.

  19· · · · · · MR. FRAY-WITZER:· Objection.

  20· · · ·Q· · Answer the question.

  21· · · · · · MR. FRAY-WITZER:· Objection.· The

  22· witness has answered the question about eight

  23· times.· I'm letting him answer it as many times as

  24· you want to ask it.

  25· · · ·A· · Once again, the focus of my analysis was


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  ·1· to look at Mr. Ferrante's report, and I told you

  ·2· the conclusion I have drawn.· If you are asking me

  ·3· if I did a separate, independent analysis outside

  ·4· of looking at Mr. Ferrante's report, that was not

  ·5· what I was tasked to do.· That was outside the

  ·6· scope, and that was not performed.

  ·7· · · ·Q· · Can you look at paragraph 56 for me.

  ·8· · · ·A· · (Document review.)

  ·9· · · ·Q· · So paragraph 56 says, "Assuming, only

  10· for the sake of argument, that everything in the

  11· FTI report was true, there is still no supporting

  12· evidence to back up these claims.· If proper

  13· procedure were followed and a forensic

  14· investigation were conducted, the following and

  15· most basic questions would have been answered."

  16· · · · · · Before we talk about the questions,

  17· which we will, I have to confess, I flatly don't

  18· understand the first sentence of that paragraph.

  19· What does that mean?· "Assuming, for the sake of

  20· argument, that everything is true, there's still

  21· no supporting evidence to back up these claims."

  22· · · · · · What do you mean by that?· What are you

  23· talking about?

  24· · · ·A· · I'm saying that I don't agree with the

  25· claims, but even if they were true, there was no


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  ·1· supporting evidence or analysis to prove the

  ·2· statements that were made.

  ·3· · · ·Q· · So I still don't understand that.· So

  ·4· let's just take a specific example, and then you

  ·5· can explain to me what it means.

  ·6· · · · · · So let's talk about the IP

  ·7· certificate -- sorry, the IP address that shares

  ·8· the SSL certificate with Fancy Bear.

  ·9· · · · · · Do you know what I'm talking about?

  10· · · ·A· · Yes, I do.

  11· · · ·Q· · It's page 13 of his report.

  12· · · · · · I'm sorry, I totally told you the wrong

  13· thing.· It's page 15.

  14· · · · · · So you're assuming it's true.· Right?

  15· It says, "Assuming, for the sake of argument, that

  16· it's true."· Then you say, "There is still no

  17· supporting evidence to back up these claims."

  18· · · · · · Well, in this portion of the report,

  19· Mr. Ferrante talks about an IP address that was

  20· found on the CrowdStrike report that's linked to

  21· the SSL certificate.· He refers to Exhibit 6 of

  22· the report, which is the printout that describes

  23· the SSL certificate.· What other evidence were you

  24· looking for?

  25· · · · · · MR. FRAY-WITZER:· Objection.· It's just


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  ·1· not what the report is saying.

  ·2· · · ·Q· · Dr. Cole, if you can explain to me what

  ·3· the report is saying and take Evan's instruction

  ·4· and his testimony, I'd be happy to hear you do it.

  ·5· I truly don't understand what you're talking about

  ·6· because I don't know what evidence there is if

  ·7· that's not the evidence to support the claim.

  ·8· · · · · · MR. FRAY-WITZER:· I guess I would just

  ·9· suggest starting on paragraph 55 since 56 follows.

  10· · · · · · MS. BOLGER:· Again, you're not

  11· testifying.

  12· · · ·A· · So here, he is saying that out of 40 IP

  13· addresses, one is owned by Root S.A. that's

  14· registered to XBT.· To me, that's not any

  15· supporting evidence at all that -- that XBT and

  16· its affiliates had been using botnets, porn

  17· traffic to transmit viruses, et cetera, that

  18· statement.· So, to me, he is going in, and, yes,

  19· one of the 40 was owned, but that is not

  20· supporting evidence to prove the fundamental

  21· statement that's at question in this case.

  22· · · ·Q· · That's because the way you construe the

  23· fundamental question at issue in this case is that

  24· XBT itself undertook the bad acts?· Correct?

  25· · · ·A· · I'm taking the statement on face value.


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  ·1· "A company called XBT/Webzilla and its affiliates

  ·2· had been using botnets and porn traffic to

  ·3· transmit viruses, plant bugs, steal data," and

  ·4· then entities directly linked to Aleksej Gubarev

  ·5· were involved.· So I'm looking at that, and he

  ·6· does not provide any factual support to support

  ·7· that entire claim.

  ·8· · · ·Q· · So you're saying that even if it's true

  ·9· that XBT infrastructure was used to launch the

  10· Bitly attack; was connected to this SSL

  11· certificate that Fancy Bear had; had 13 IP

  12· addresses listed on the Grizzly Steppe report; was

  13· used in a worldwide massive ad fraud campaign; had

  14· one, two, three, four, five, six connections to

  15· Russian cyber actors; was involved in one, two,

  16· three, four, five, six other malicious cyber

  17· attacks, you think that evidence is completely

  18· irrelevant to the allegations in the dossier.

  19· · · · · · MR. FRAY-WITZER:· Objection.· You can

  20· answer.

  21· · · ·A· · Once again, some of the -- just for the

  22· record, some of the things you quoted, I don't

  23· directly agree with the statements.· IP addresses

  24· out of many, including other big companies like

  25· Google and Amazon, were listed there.· So I do not


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  ·1· believe he provided any concrete evidence that

  ·2· supports that this statement made by BuzzFeed has

  ·3· any factual relevance.

  ·4· · · ·Q· · Are you done?

  ·5· · · ·A· · Yes.

  ·6· · · ·Q· · I'm sorry, I don't understand your -- I

  ·7· hate to ask my question again because it was so

  ·8· long, but I don't understand your response, and

  ·9· I'll tell you why I don't understand your

  10· response.· Paragraph 56 says, "Assuming, only for

  11· the sake of argument, that everything in the FTI

  12· report was true."· Do you see that?· That's your

  13· words, got it?

  14· · · ·A· · (Nodding head yes.)

  15· · · ·Q· · So now I'm going to tell you, assume

  16· everything in the report was true.· I understand

  17· it's just an assumption, but it's your assumption.

  18· · · · · · Assuming that it is true, that all of

  19· the bad acts articulated in this report are true

  20· and happened on XBT infrastructure, are you

  21· seriously telling me that you think you can

  22· discount all of them collectively as irrelevant to

  23· the allegations in the dossier?

  24· · · · · · MR. FRAY-WITZER:· Objection.· You can

  25· answer.


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  ·1· · · ·Q· · As an actual serious cyber security

  ·2· investigator.

  ·3· · · · · · MR. FRAY-WITZER:· Objection.· You can

  ·4· answer.

  ·5· · · ·A· · That's not what I said.· So the first

  ·6· thing we have to look at is, the FTI report never

  ·7· once uses the word "prove," "proves," or "proof."

  ·8· · · ·Q· · That's not -- Dr. Cole, that's outside

  ·9· your hypothetical.· You set up the hypothetical.

  10· You said the hypothetical was -- everything was

  11· true.

  12· · · · · · MR. FRAY-WITZER:· He's answering the

  13· question.

  14· · · · · · MS. BOLGER:· No, he's not answering my

  15· question.

  16· BY MS. BOLGER:

  17· · · ·Q· · You set up the hypothetical.· The

  18· hypothetical is, assume it's true.· So don't argue

  19· with the report.· Answer the hypothetical you set

  20· up.· You said assume it's true.· So assume it's

  21· true.· Are you really telling me it's irrelevant?

  22· · · · · · MR. FRAY-WITZER:· Please let the witness

  23· answer the question.

  24· · · · · · MS. BOLGER:· Let him try for once.

  25· · · ·A· · So if you go in and look at the report,


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  ·1· what I'm saying is that the FTI report never once

  ·2· uses the word "proof," "proves," or "proof," and

  ·3· the whole matter here is not infrastructure.· It's

  ·4· whether the "XBT/Webzilla and its affiliates had

  ·5· been using botnets and porn traffic to transmit

  ·6· viruses, plant bugs, and steal data, and conduct

  ·7· 'altering operations' against the Democratic

  ·8· leadership," and with regard to that statement,

  ·9· the FTI report does not provide any supporting

  10· evidence to back that claim.

  11· · · ·Q· · Dr. Cole, you didn't listen to anything

  12· I said.· And, honestly, juries know when you're

  13· fudging.· And you're fudging, Dr. Cole.

  14· · · · · · MR. FRAY-WITZER:· Objection.· This is

  15· just an attack on the witness.

  16· · · ·Q· · Let's go with our hypothetical.

  17· · · · · · MR. FRAY-WITZER:· Ask your question,

  18· please.

  19· · · ·Q· · Let's go with your hypothetical.· Let's

  20· go with your hypothetical.· Your hypothetical is,

  21· assume it's all true.· Are you telling me that if

  22· everything in the FTI report was true, it still

  23· has no relevance to the allegations in the

  24· dossier?

  25· · · · · · MR. FRAY-WITZER:· Objection.


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  ·1· · · ·A· · Once again, even if we go with that, if

  ·2· we're looking at the actual allegation that we're

  ·3· talking about, Mr. Ferrante did not provide

  ·4· supporting evidence to back up the claims that

  ·5· "XBT/Webzilla and its affiliates had been using

  ·6· botnets and porn traffic to transmit viruses,

  ·7· plant bugs, steal data, and conduct 'altering

  ·8· operations' against the Democratic Party

  ·9· leadership."· And I think it is crystal clear,

  10· even to a jury, that the FTI report never once

  11· uses the word "prove," "proves," or "proof."

  12· · · ·Q· · You're reading an entire different part

  13· of the report than I am.

  14· · · ·A· · No, I'm not.· I'm reading the exact

  15· section.

  16· · · ·Q· · I'm reading the sentence, "Assuming,

  17· only for the sake of argument, that everything in

  18· the FTI report was true," which you wrote and you

  19· won't do.

  20· · · · · · Okay.· Let's -- oh, by the way, if

  21· you'll flip now to the questions on the next page,

  22· there's a whole listing of questions.· Did you ask

  23· any of these questions of XBT?

  24· · · ·A· · Once again, my assignment was to utilize

  25· Mr. Ferrante's report.· If Mr. Ferrante asked the


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  ·1· questions, then I would have.· But because he

  ·2· didn't, and my focus was solely on Mr. Ferrante's

  ·3· report, I did not ask those questions because that

  ·4· was out of scope of what I was asked to do.

  ·5· · · ·Q· · You didn't ask all the questions

  ·6· Mr. Ferrante asked in the other parts of the

  ·7· report, did you?

  ·8· · · ·A· · I'm not following the question.

  ·9· · · ·Q· · You just said that if Mr. Ferrante had

  10· asked the questions, you would have asked the

  11· questions.· But that's actually not true for the

  12· whole report.· You've said now twice that you

  13· didn't redo Anthony's report.· So it's not true

  14· that if Anthony had asked the questions, you would

  15· have asked the questions, because throughout the

  16· report Mr. Ferrante did things that you didn't do.

  17· Right?

  18· · · · · · MR. FRAY-WITZER:· Objection.

  19· · · ·Q· · You never reverse engineered the malware

  20· hashes, did you?

  21· · · ·A· · I went through his analysis and used his

  22· information.

  23· · · ·Q· · Did you reverse engineer the malware

  24· that was used at the DNC?

  25· · · ·A· · No, I did not.


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  ·1· · · ·Q· · Mr. Ferrante did.· Would you agree with

  ·2· me?

  ·3· · · ·A· · I believe Mr. Ferrante's team did.

  ·4· · · ·Q· · Okay.· But you did not, right.· Okay.

  ·5· So you did not redo Mr. Ferrante's analysis.

  ·6· Correct?

  ·7· · · ·A· · In that particular case, no, I did not

  ·8· use what was in there.

  ·9· · · ·Q· · And you did not reverse engineer the SSL

  10· certificate.· Correct?

  11· · · ·A· · Because I felt there was sufficient

  12· information in his report that I didn't need to do

  13· that.

  14· · · ·Q· · And you didn't analyze and review the

  15· Bitly data.· Correct?

  16· · · ·A· · Once again, my focus was solely on

  17· Mr. Ferrante's report so I used the information

  18· within his report.

  19· · · ·Q· · Okay.· So you didn't do everything

  20· Mr. Ferrante did.· Correct?

  21· · · ·A· · I reviewed and analyzed everything

  22· Mr. Ferrante did.

  23· · · ·Q· · You did not do all of his analysis.

  24· Correct?

  25· · · ·A· · My tasking was not to redo his analysis.


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  ·1· My tasking was to look at his report and provide a

  ·2· technical evaluation.· So I was not asked to redo

  ·3· his analysis.· I could have, but that was not what

  ·4· the scope of the assignment was.

  ·5· · · ·Q· · Great.

  ·6· · · · · · Take a look on page 17 under the heading

  ·7· "Steal" -- I'm sorry, "Conducting 'altering

  ·8· operations.'"· It's the next page.· You're on the

  ·9· right page.· You're on the right page.

  10· · · ·A· · Oh, page 17.· I thought you meant

  11· paragraph 17.

  12· · · ·Q· · No, I'm sorry.· I apologize.

  13· · · ·A· · Sorry.

  14· · · ·Q· · No, we speak different languages,

  15· Dr. Cole.· Page 17, "Conduct 'altering

  16· operations.'"

  17· · · · · · The very first bullet point is "What

  18· ransomware or destructive malware" --

  19· · · ·A· · Are you under "Steal data"?

  20· · · ·Q· · No, under "Conducting 'altering

  21· operations.'"

  22· · · ·A· · Sorry.· Okay.

  23· · · ·Q· · And then "What analysis was done on this

  24· destructive malware to determine what data was

  25· successfully ransomed or damaged from the


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  ·1· Democratic Party machines?"

  ·2· · · · · · Do you see that?

  ·3· · · ·A· · Yes, I do.

  ·4· · · ·Q· · But Mr. Ferrante did do that analysis.

  ·5· Correct?

  ·6· · · ·A· · I do not believe he did -- I don't

  ·7· believe he identified the ransomware or

  ·8· destructive malware indicators and performed the

  ·9· analysis on the Democratic Party machines.

  10· · · ·Q· · No, he did it on the malware.· He did

  11· the analysis on the malware itself.· Correct?

  12· · · ·A· · He did some basic analysis, but not of

  13· all the destructive malware indicators that were

  14· discovered on the Democratic Party machines.

  15· · · ·Q· · I'm not sure I understand the

  16· distinction you're making.· And this may be

  17· semantic, Dr. Cole.

  18· · · · · · FTI obtained the malware, deconstructed

  19· the malware, and then analyzed the malware.· Do

  20· you agree with that?

  21· · · ·A· · Some of the malware.· I didn't see that

  22· that was all of the malware and all of the

  23· specifics from the Democratic Party machines.

  24· · · ·Q· · Okay.· Turn to page 14 of Mr. Ferrante's

  25· report.


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  ·1· · · · · · It says, "The CrowdStrike report

  ·2· included seven command-and-control IP addresses

  ·3· and five malware hashes (i.e., malicious software

  ·4· programs) as the IOCs in the DNC hack."· IOC is

  ·5· indicator of compromise.· Right, Dr. Cole?

  ·6· · · ·A· · Yes.

  ·7· · · ·Q· · And then it says FTI performed an

  ·8· analysis of the five malware samples.

  ·9· · · · · · Do you see that?

  10· · · ·A· · Yes, I do.

  11· · · ·Q· · So what do you think -- you said you

  12· thought they only performed analysis on some of

  13· the malware.· There were five named malware

  14· hashes.· They performed analysis on those five

  15· named malware hashes.· What is it that you think

  16· they didn't do?

  17· · · ·A· · Well, this report doesn't state whether

  18· that was all of the malware on the Democratic

  19· Party machines.

  20· · · ·Q· · Well, the CrowdStrike report says it's

  21· all of the malware on the Democratic machines.

  22· That's what it says.· "The CrowdStrike report

  23· included seven command-and-control IP addresses

  24· and five malware hashes."

  25· · · ·A· · I don't see anywhere where it says that


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  ·1· was a complete --

  ·2· · · ·Q· · "As the IOCs in the DNC hack."· That's

  ·3· what it says.

  ·4· · · ·A· · Right.· So that's why I said that was

  ·5· some.· That doesn't say that was all.

  ·6· · · ·Q· · Did you review the CrowdStrike report?

  ·7· · · ·A· · Yes.· There were several -- that's just

  ·8· focused on one of the attacks.· I'll have to go --

  ·9· if you have the report, we can look at it.

  10· · · ·Q· · Did you review the CrowdStrike report

  11· where you wrote your report?

  12· · · ·A· · Yes, I did.

  13· · · ·Q· · Do you have any reason to believe that

  14· there was other malware?

  15· · · ·A· · (Document review.)

  16· · · ·Q· · It won't be in your report.

  17· · · ·A· · I'm just looking at the questions.

  18· · · · · · It says in Mr. Ferrante's report, "FTI

  19· reviewed the IP registration information for the

  20· seven command-and-control IP addresses, but none

  21· were affiliated with XBT."· It doesn't say they

  22· performed full forensic analysis, and the analysis

  23· they did perform actually showed that there was no

  24· affiliation with XBT.

  25· · · ·Q· · That's not the sentence I -- we were not


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  ·1· talking about the IP addresses.· We were talking

  ·2· about the malware samples.· It says, "based on

  ·3· analysis of the five malware samples."

  ·4· · · · · · You told me -- you testified that you

  ·5· believed that FTI did not conduct an analysis of

  ·6· all of the malware samples.· I am trying to figure

  ·7· out what the basis for that is, given that the FTI

  ·8· report specifically says there were five malwares,

  ·9· we analyzed -- five pieces of malware, we analyzed

  10· five pieces of malware.

  11· · · · · · I'm trying to figure out why you think

  12· it is they didn't analyze malware.

  13· · · · · · MR. FRAY-WITZER:· Objection.

  14· · · ·A· · I'm just seeing that "FTI reviewed the

  15· IP registration information" --

  16· · · ·Q· · Read the next sentence.

  17· · · ·A· · What's that, "Similarly"?

  18· · · ·Q· · Yes, it ends with "based on an analysis

  19· of the five malware samples."

  20· · · ·A· · But Mr. Ferrante doesn't explain any of

  21· the details of what they performed or what they

  22· did.· And from what he's listing here, it looks

  23· like they just did IP registration information.

  24· · · ·Q· · Well, that's not what you just

  25· testified.· You just testified you thought they


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  ·1· didn't do an analysis on all of the malware

  ·2· samples.· Now you're saying, well, maybe they did

  ·3· it on all of the malware samples, but they didn't

  ·4· do the right kind of analysis.· I don't understand

  ·5· what the basis for your claim is that they didn't

  ·6· do a malware analysis.

  ·7· · · ·A· · What they have in their report is that

  ·8· they reviewed the IP registration information and,

  ·9· similarly, was not able to identify a direct

  10· connection based on the analysis.· So reading

  11· these --

  12· · · ·Q· · That's the IP information.· The next

  13· sentence says, "based on an analysis of the five

  14· malware samples."

  15· · · ·A· · Right, but if you're reading the

  16· paragraph together, I'm taking that that the

  17· analysis they performed was just reviewing the IP

  18· registration information.· They do not say they

  19· did any other detailed analysis.

  20· · · ·Q· · Wow.· But if you're wrong about that and

  21· they did it, is your conclusion wrong in your

  22· report?

  23· · · · · · MR. FRAY-WITZER:· Objection.

  24· · · ·A· · No, it would still be correct.

  25· · · ·Q· · Why?· You said they're -- you said here


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  ·1· you're faulting them for not doing a malware

  ·2· analysis, but they did -- but what if they did?

  ·3· Would you be wrong?

  ·4· · · ·A· · I'm saying this is a -- this is a

  ·5· comprehensive list of all questions that are

  ·6· listed here.· If they answered one or part of one,

  ·7· they still didn't answer all of them.

  ·8· · · ·Q· · So they had to answer every single one

  ·9· of these questions to satisfy you.

  10· · · · · · MR. FRAY-WITZER:· Objection.

  11· · · ·A· · They had to provide the detail behind

  12· this.· And I still don't agree.· In their

  13· report -- now, if they did things not in their

  14· report, that's great.· But what's in the report --

  15· I do not believe what they have in their report

  16· satisfies these questions.

  17· · · ·Q· · Did you do any of these questions?

  18· · · ·A· · Once again, that was not the scope of my

  19· analysis.· It was to look at Mr. Ferrante's.· So,

  20· no, I did not.

  21· · · ·Q· · If you look at the previous page, the

  22· Bitly data.

  23· · · ·A· · Whose report?

  24· · · ·Q· · Mr. Ferrante's.· I'm sorry, page 13.

  25· · · · · · It says that FTI -- established a


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  ·1· connection -- sorry -- "produced a system audit

  ·2· log of 11,139 bitlinks created by john356gh, which

  ·3· included the bitlink, created ... and the IP

  ·4· address used to create the bitlink."· Then there's

  ·5· a chart beneath that actually shows the bitlink,

  ·6· the underlying URL, and the URL -- the Base64

  ·7· encoding for the actual email that actually hacks

  ·8· John Podesta.

  ·9· · · · · · Isn't that -- isn't that FTI analyzing

  10· the malware?

  11· · · · · · MR. FRAY-WITZER:· Objection.· You can

  12· answer.

  13· · · ·A· · This is just looking at the Bitly, and

  14· the important thing is, clearly states, "FTI could

  15· not establish a technical connection between the

  16· IP addresses used that John Podesta clicked on and

  17· XBT."

  18· · · ·Q· · Yes, we all know how to pick and choose

  19· from a report to make our points, Dr. Cole, but

  20· that wasn't my question.

  21· · · · · · My question was, doesn't the chart show

  22· the bitlink, the underlying URL, and the URL

  23· encoding of the actual email that actually phished

  24· John Podesta?

  25· · · · · · MR. FRAY-WITZER:· Objection.· You can


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  ·1· answer.

  ·2· · · ·A· · It is showing the URL, and, once again,

  ·3· you can't take sentences out of context.· If you

  ·4· look at the entire sentence, they do -- they

  ·5· perform the analysis, and then it's important to

  ·6· show that they could not establish a technical

  ·7· connection between the IP address that John

  ·8· Podesta clicked on and XBT.· And this is a perfect

  ·9· example of the lack of evidence that I reference

  10· in my report.

  11· · · ·Q· · Right.· But you -- your report says that

  12· they didn't do any analysis of malware indicators

  13· associated with the hack.· This is a malware

  14· indicator connected with the hack, is it not?

  15· · · ·A· · Can you show me where in my report I

  16· said they did not do any analysis?

  17· · · ·Q· · Are you actually quibbling with the word

  18· "any"?· Yes.· "If proper procedure were followed

  19· and a forensic investigation were conducted" --

  20· · · ·A· · Which paragraph?

  21· · · ·Q· · 56.

  22· · · ·A· · -- "the following and most basic

  23· questions would have been answered and included in

  24· a report for at least the following four

  25· categories."· Right?


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  ·1· · · · · · I'm telling you, isn't this information,

  ·2· which is about the actual malware that actually

  ·3· phished John Podesta, included in the report?

  ·4· · · · · · MR. FRAY-WITZER:· Objection.· You can

  ·5· answer.

  ·6· · · ·A· · Once again, this is the bitlink data so

  ·7· this is showing the link.· To me, once again,

  ·8· these questions were based off of -- they did not

  ·9· show the detailed analysis to support their

  10· claims, and, once again, this analysis actually

  11· supports my claim that they could not establish a

  12· technical connection between the IP address that

  13· John Podesta clicked on and XBT.

  14· · · ·Q· · But you didn't do any of this analysis.

  15· · · ·A· · Once again, that was outside the scope.

  16· I did not perform that analysis.· My focus was on

  17· Mr. Ferrante's report.

  18· · · ·Q· · What degree were you awarded from Pace

  19· University?

  20· · · ·A· · A doctorate in professional studies.

  21· · · ·Q· · A DPS.· Correct?

  22· · · ·A· · Yes.

  23· · · ·Q· · On your CV it says it's "now a Ph.D."

  24· What does that mean?

  25· · · ·A· · So when I took, it was a DPS, and I was


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  ·1· notified by the school that they did a conversion

  ·2· over to a Ph.D.

  ·3· · · ·Q· · So it is your testimony that you have a

  ·4· Ph.D.?

  ·5· · · · · · MR. FRAY-WITZER:· Objection.

  ·6· · · ·A· · I tell people that I have a DPS.

  ·7· They're equivalent, and that's why I go by

  ·8· Dr. Cole.

  ·9· · · ·Q· · Well, they're not equivalent, just like

  10· a JD is not equivalent.· Right?

  11· · · ·A· · But I'm saying the school, the school

  12· notified me that it was converted over, but at the

  13· time I got the degree, it was a DPS.

  14· · · ·Q· · The school notified you that your degree

  15· was converted?

  16· · · ·A· · I would have to go back and look at the

  17· exact email.· I believe that's what it said.

  18· · · ·Q· · How many total fees did you bill in this

  19· matter?

  20· · · ·A· · I would have to look at the invoicing,

  21· but, if I was guessing, maybe around 50 hours.

  22· That would be a guess.· I would have to look at

  23· the exact invoice.

  24· · · ·Q· · I'm entitled to that information, and I

  25· would like to have it.


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  ·1· · · · · · Other than you, who else worked on

  ·2· writing this report?

  ·3· · · ·A· · I wrote the report.· I have some folks

  ·4· that just helped me with basic organizational

  ·5· stuff, but the report, the analysis, the thoughts

  ·6· were all me.

  ·7· · · ·Q· · Who are those people?

  ·8· · · ·A· · I have an assistant that does, like,

  ·9· scheduling and stuff like that for setting up

  10· meetings, and others, but once again, the

  11· functional foundational material for the report

  12· was all me.

  13· · · ·Q· · What's the name of your assistant?

  14· · · ·A· · Geraldine.

  15· · · ·Q· · Geraldine what?

  16· · · ·A· · Malloy.

  17· · · ·Q· · You said you have some folks that help

  18· you with basic organizational stuff.· So who are

  19· the other folks?

  20· · · ·A· · Greg Kipper.

  21· · · ·Q· · What does Mr. Kipper do?

  22· · · ·A· · He does various work for Secure Anchor,

  23· helps me with some security assessments, and some

  24· other work.

  25· · · ·Q· · He didn't once sue my client for


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  ·1· defamation, did he?· Did you ever -- I know -- the

  ·2· reason I laughed when you said "Greg Kipper" was

  ·3· because there is a famous defamation plaintiff

  ·4· named Greg Kipper.

  ·5· · · ·A· · Oh, okay.· I was wondering.

  ·6· · · ·Q· · That's why I laughed.

  ·7· · · ·A· · I missed the humor.

  ·8· · · ·Q· · That's why I laughed.· It was just funny

  ·9· in this context.· Greg Kipper was, like, an

  10· 80-year-old man, so don't worry about it.· But,

  11· anyway, it just made me laugh.

  12· · · ·A· · Thank you for clarifying.· I was

  13· wondering.

  14· · · ·Q· · I wondered what you -- that's why I said

  15· it.

  16· · · · · · Other than Mr. Kipper and Ms. Malloy,

  17· anybody else?

  18· · · ·A· · No.

  19· · · · · · MS. BOLGER:· I have to run to the

  20· bathroom so let's take a break.· We may be

  21· wrapping up.

  22· · · · · · THE WITNESS:· Excellent.· Thank you.

  23· · · · · · THE VIDEOGRAPHER:· We're off the record

  24· at 1:31.

  25· · · · · · · ·(A brief recess was taken.)


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  ·1· · · · · · THE VIDEOGRAPHER:· Back on the record at

  ·2· 1:38.

  ·3· · · · · · MS. BOLGER:· That is it.· I have no

  ·4· further questions, Dr. Cole.· Thank you so much

  ·5· for spending so much time with us.

  ·6· · · · · · THE WITNESS:· Thank you.

  ·7· · · · · · MR. FRAY-WITZER:· Thank you.

  ·8· · · · · · THE VIDEOGRAPHER:· This concludes the

  ·9· video-recorded deposition of Eric Cole.· We're off

  10· the record at 1:38.

  11

  12· · · · (Whereupon, at 1:38 p.m., the deposition

  13· · · · · · · · · · ·was concluded.)

  14

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  ·1· · · · · · · · · · · · · · ·ALEKSEJ GUBAREV V. BUZZFEED

  ·2· · · · · · · · · · · · · · ·ERIC COLE

  ·3

  ·4· · · · · · · ·INSTRUCTIONS TO THE WITNESS

  ·5· · · · · · Please read your deposition over carefully

  ·6· and make any necessary corrections.· You should state

  ·7· the reason in the appropriate space on the errata

  ·8· sheet for any corrections that are made.

  ·9· · · · · · After doing so, please sign and date the

  10· errata sheet.

  11· · · · · · You are signing same subject to the changes

  12· you have noted on the errata sheet, which will be

  13· attached to your deposition.

  14· · · · · · It is imperative that you return the

  15· original errata sheet to the deposing attorney within

  16· thirty (30) days of receipt of the deposition

  17· transcript by you.· If you fail to do so, the

  18· deposition transcript may be deemed to be accurate and

  19· may be used in court.

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  ·1· · · · · · · · · · · · · * * *

  ·2· · · · · · · ·ACKNOWLEDGEMENT OF WITNESS

  ·3· · · · · · I, ERIC COLE, do hereby acknowledge that

  ·4· I have read and examined the foregoing testimony,

  ·5· and the same is a true, correct and complete

  ·6· transcription of the testimony given by me, and

  ·7· any corrections appear on the attached Errata

  ·8· sheet signed by me.

  ·9

  10· · · · ·____· · ·______________________________

  11· · · · (DATE)· · · · · · ·(SIGNATURE)

  12

  13

  14· · · · ·SUBSCRIBED AND SWORN before and to me

  15· this ____ day of ___________, 2018.

  16

  17

  18· · · · · · · · · · · __________________________

  19· · · · · · · · · · · Notary Public

  20

  21· My commission expires:

  22

  23

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  ·1· · · · · · CERTIFICATE OF SHORTHAND REPORTER

  ·2

  ·3· · · · · · I, Michele E. Eddy, Registered Professional

  ·4· Reporter and Certified Realtime Reporter, the court

  ·5· reporter before whom the foregoing deposition was

  ·6· taken, do hereby certify that the foregoing transcript

  ·7· is a true and correct record of the testimony given;

  ·8· that said testimony was taken by me stenographically

  ·9· and thereafter reduced to typewriting under my

  10· supervision; and that I am neither counsel for,

  11· related to, nor employed by any of the parties to this

  12· case and have no interest, financial or otherwise, in

  13· its outcome.

  14

  15· · · · · · IN WITNESS WHEREOF, I have hereunto set my

  16· hand and affixed my notarial seal this 5th day of

  17· September, 2018.

  18

  19· My commission expires July 14, 2022

  20

  21

  22· _____________________________

  23· MICHELE E. EDDY
  · · NOTARY PUBLIC IN AND FOR
  24· THE DISTRICT OF COLUMBIA

  25


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  ·1· · · · · · · · ·E R R A T A· S H E E T

  ·2· · · · · · · · · ·U.S. LEGAL SUPPORT

  ·3

  ·4· CASE NAME:· ALEKSEJ GUBAREV V. WEBZILLA

  ·5· DATE OF DEPOSITION:· August 29, 2018

  ·6· WITNESS' NAME:· ERIC COLE

  ·7· PAGE· · LINE· ·CHANGE· · · · · ·REASON

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  11· ____· · _____· _______________· ____________________

  12· ____· · _____· _______________· ____________________

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  18· ____· · _____· _______________· __________________

  19

  20· · · · · · · · ·_________________________
  · · · · · · · · · ·ERIC COLE
  21· SUBSCRIBED AND SWORN TO
  · · BEFORE ME THIS _____DAY
  22· OF ________ 2018.

  23· _______________________
  · · NOTARY PUBLIC
  24

  25


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